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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

               In re:
               WC 1st and Trinity, LP                         Case No. 20-10885-tmd
               WC 1st and Trinity GP, LLC                     Case No. 20-10886-tmd
               WC 3rd and Congress, LP                        Case No. 20-10887-tmd
               WC 3rd and Congress GP, LLC                    Case No. 20-10888-tmd

                 DEBTORS’ RESPONSE IN OPPOSITION TO MOTION
           FOR EXPEDITED HEARING ON MILLIGAN’S MOTION TO DISMISS
                 BANKRUPTCY CASES/MOTION FOR DECLARATION

                                               Synopsis

          1.       Milligan’s motion for an expedited hearing on his Motion to Dismiss Bankruptcy

  Cases or, in the Alternative, Motion for Declaration that Receiver May Remain in Charge of the

  Debtors in Possession (the “Motion to Dismiss”) should be denied for three reasons. First,

  Milligan has failed to demonstrate that good cause exists for conducting an expedited hearing on

  the Motion to Dismiss. To that end, there is no threat of any improper use of the Debtors’ real

  property assets or the rents generated from those assets during the pendency of these bankruptcy

  cases and certainly no evidence of any immediate harm. Second, fundamental principles of due

  process and fairness demand that the Debtors and other parties in interest have adequate time to

  respond to the Motion to Dismiss. Here, the nature of the relief sought is significant. Furthermore,

  the scope of the facts alleged by and complexity of legal arguments made by Milligan require both

  significant legal and factual response. As such, the Debtors and other parties in interest deserve at

  a minimum the standard twenty-one-day response period provided by the Bankruptcy Local Rules.

  And third, as had been communicated to counsel for Milligan, the Debtors’ proposed bankruptcy

  counsel has a long-standing out-of-state family commitment from August 14 through 22, the




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  requirements of which will impose serious hardship upon him if hearing on the Motion to Dismiss

  is expedited as requested by Milligan.

                                                     Discussion

             2.      As a gating issue, Milligan must demonstrate that good cause exists for this Court

  to grant an expedited hearing on the Motion to Dismiss.1 Milligan has failed articulate any credible

  cause whatsoever for an expedited hearing, especially one that would occur within the next five

  days (with a two-day deadline for the Debtors to file a response to the Motion to Dismiss). 2 Nor

  could Milligan show such “good cause”, as there is no reason for the Motion to Dismiss to be heard

  on an expedited basis. In his motion to expedite, Milligan summarily states that “an immediate

  need exists to have these management and control issues determined.” But he fails to explain why

  that need is immediate.3 To the contrary, any action taken by the Debtors in these cases will be

  subject to scrutiny and transparency by, among others, this Bankruptcy Court and the Office of the

  U.S. Trustee, as well as creditors and other parties in interest. To that point, any funds received by

  the Debtors will be deposited in the Debtors’ DIP account, subject to controls imposed by the

  Bankruptcy Code, and other protections. Milligan’s contention, therefore, is specious.

             3.      In his Motion to Dismiss, Milligan seeks either to have these bankruptcy cases

  dismissed or to designate Milligan as the person in charge of the Debtor Partnerships. The Debtors

  believe that the relief sought by Milligan is not only without merit, but further, if it is granted, will



  1
      See L. Rule 9014(e).
  2
    Milligan contends that hearing on the Motion to Dismiss should take 90 minutes or less. The scope of the Motion
  to Dismiss itself proves that contention to be absurd.
  3
    Milligan complains that the Debtors acted improperly in directing their two tenants to tender post-petition rent
  payments to the Debtors. Although we respect advocacy in its highest form, as Paul Harvey would say, and now, the
  rest of the story. There has been no attempted diversion of funds from the two tenants of the Debtors’ property. To
  the contrary, the Debtor limited partnerships instructed their tenants to deposit all future rents in the US Trustee
  authorized Debtor-In-Possession bank accounts, where the funds will remain on deposit pending court order and/or
  agreement of the secured lenders.

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  leave the Debtors’ secured creditors, priority creditors, unsecured creditors, the Debtors

  themselves, and their equity security holders unable to reorganize the Debtors and to cure the

  Debtors’ defaulted loan obligations due to a never-ending series of litigation proceedings, with the

  costs of the defaulted loan obligations and the costs of Milligan’s receivership resulting in the

  significant erosion in value of the Debtors’ equity and their estates. Furthermore, the Debtors

  believe that they can propose a plan that is fair and equitable to all parties and intend to file a plan

  disclosure statement within thirty (30) days. To that end, the Debtors’ refute that they filed these

  bankruptcy cases in bad faith.

             4.      But regardless of the merits of the parties’ respective positions on the facts alleged

  and issues argued in the Motion to Dismiss, there is no reason why the Motion to Dismiss should

  be heard on an expedited basis. Milligan speculates that the Debtors filed these bankruptcy cases

  to avoid disclosure of their financial dealings. But there is no more transparent a forum than the

  Bankruptcy Court. Nondisclosure is certainly not the Debtors’ motivation. Rather, they seek the

  opportunity to successfully reorganize=. Furthermore, the Debtors real property assets will not be

  put at risk or diminished in value if the Debtors and other parties in interest are permitted the

  amount of time usually permitted by the Bankruptcy Local Rules to respond to the Motion to

  Dismiss. In that regard, and in an effort to address any concern by Milligan, the Debtors proposed

  an interim agreement that would ensure Debtors’ assets are safeguarded pending a hearing on the

  Motion to Dismiss, without prejudice to any of the parties. Milligan, without comment, summarily

  rejected that proposal.4

             5.      The Nalle Plastics Family Limited Partnership (“NPFLP”) is the principal secured

  creditor of Debtor WC 3rd and Congress, LP.; United Heritage Credit Union (“UHCU”) is the


  4
      See email communications between counsel for Milligan and the Debtors attached hereto as Ex. “A”.


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  principal secured creditor of Debtor WC 1st and Trinity, LP. NPFLP has, in writing, stated that it

  opposes the Motion to Dismiss and that it is in favor of the Debtors remaining as Debtors in

  Possession. Furthermore, on the grounds that they need sufficient time to properly present their

  opposition, NPFLP also opposes expedited consideration of the Receiver’s motion. 5 UHCU, for

  its part, has communicated that had not even received the Receiver’s motion and request for

  expedited hearing. Needless to say, it is clear that the secured creditors and other parties in interest

  to this litigation need the time afforded by the Local Rules to be able to appropriately respond to

  the Motions to Dismiss, which cannot be accomplished in the short time frame requested for an

  expedited hearing.

             6.      The nature of this contested matter and fundamental principles of due process

  warrant that the Debtors and other parties in interest be permitted sufficient time to respond to

  Milligan’s allegations (which the Debtors refute as specious, false and incomplete) and legal

  arguments (which the Debtors contend are not meritorious).6 Additionally, the nature of this matter

  is likely to require the presentation of witnesses and numerous documentary exhibits (including

  and in addition to the fourteen exhibits attached to the Motion to Dismiss). In short, this contested

  matter is not a simple matter. The Debtors and other parties in interest should have adequate time

  to prepare and present their defense, evidence, and witnesses as may be necessary, to the Motion

  to Dismiss.



  5
      See Email from Kenneth Richey, counsel for NPFLP, attached hereto as Ex. “B”.
  6
    Milligan’s Motion to Dismiss is rife with specious false and incomplete information. The Debtors will respond
  more fully prior to a hearing on the Motion to Dismiss but offer to the Court additional background, described (at
  least in part) in the Super Majority Limited Partners’ Original Petition, a true and correct copy of which (without
  exhibits) is attached hereto as Exhibit “C”. In that Original Petition, the plaintiffs (the super-majority limited
  partners of the two Debtor limited partners) detail the facts evidencing Milligan’s collusion with the Debtor limited
  partners’ minority limited partner to hijack control of the Debtor limited partners and thereby squeeze-out the
  Debtor general partners and the super-majority limited partners, including but not limited to the Defendant parties in
  that action intentionally including enforceable provisions in the state court receivership order.


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           7.      Finally, Debtors’ proposed counsel (“Ralston”) has a long-standing out-of-state

  family commitment from August 14 through 22, the requirements of which will impose serious

  hardship upon him if hearing on the Motion to Dismiss is expedited as requested by Milligan.

  Ralston communicated that commitment to Milligan’s counsel on Monday, August 10, at

  approximately 9:00 a.m. (which notably, was the first business hour after Milligan’s attempted

  conference on an expedited hearing). Regardless of that communication, Milligan’s counsel

  proceeded to request a hearing date on the Motion to Dismiss for a date that would include the

  time period during which Ralston will be traveling or assisting his son to move into his college

  dormitory for the start of that son’s freshman year at the University of Arizona. 7

           Accordingly, for the foregoing reasons, the Debtors request that Milligan’s motion for

  expedited hearing on his Motion to Dismiss be denied, and that the Motion to Dismiss be set on a

  date at the Court’s convenience after the expiration of the notice period required by the Local

  Rules.

  Dated: August 11, 2020

                                                              Respectfully submitted,


                                                               /s/ Mark H. Ralston
                                                              Mark H. Ralston
                                                              State Bar No. 16489460
                                                              Fishman Jackson Ronquillo PLLC
                                                              13155 Noel Road, Suite 700
                                                              Dallas, TX 75240
                                                              Telephone: (972) 419-5544
                                                              Facsimile: (972) 419-5501
                                                              E-mail: mralston@fjrpllc.com

                                                              PROPOSED COUNSEL FOR THE DEBTORS



  7
   See Email from Ralston to Stephen Lemmon dated August 10, 2020, a true and correct copy of which is attached
  hereto as Ex. “D”.

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 11, 2020, I caused to be served a true and correct copy of
  the foregoing document by the court ECF filing system on all parties who have entered their
  appearance electronically.

                                                       /s/ Mark Ralston
                                                      Mark Ralston




                                                  6
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Mark Ralston

From:                                         Stephen Lemmon <Lemmon@slollp.com>
Sent:                                         Monday, August 10, 2020 5:32 PM
To:                                           Mark Ralston; 'Chester, Ray'
Cc:                                           Rhonda Mates; Daniel, William H.; Bynum, Deborah A. (USTP)
Subject:                                      RE: WC 1st & Trinity LP et al [IWOV-Legal.FID105226]


Thanks Mark. Your proposal is unacceptable and we will move to have this heard on an expedited basis. By the way,
you have not responded to our request for the corporate authorizations and retention agreements. Thanks.

Stephen Lemmon

STREUSAND | LANDON | OZBURN | LEMMON LLP
Spyglass Point | 1801 South MoPac Expressway | Suite 320 | Austin, Texas 78746
(d) (512) 220-2688 | (o) (512) 236-9900 | (f) (512) 236-9904
lemmon@slollp.com | www.slollp.com

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Revenue Code or (ii) promoting, marketing, or recommending to another party any transaction or matter addressed herein.


From: Mark Ralston <mralston@fjrpllc.com>
Sent: Monday, August 10, 2020 3:07 PM
To: Stephen Lemmon <Lemmon@slollp.com>; 'Chester, Ray' <rchester@mcginnislaw.com>
Cc: Rhonda Mates <Mates@slollp.com>; Daniel, William H. <WDaniel@mcginnislaw.com>
Subject: RE: WC 1st & Trinity LP et al [IWOV-Legal.FID105226]

Stephen (and Ray),

I assume your concern is ensuring that the property of the limited partnerships, namely (i) the unimproved real estate
owned by each limited partnership (“Real Property”), (ii) the pre-petition cash held by the Receiver (“Receiver Cash”),
and (iii) the post-petition cash that will be deposited into the debtor-in-possession (“DIP Cash”), will not be used by the
debtors in possession without court approval, pending a hearing on the Receiver’s and the Mitte Foundation’s motions
to dismiss the case or seeking alternative relief (“Opposition Motions”).

In light of that concern, the limited partnership debtors (“LP Debtors”) would be amenable to the following agreement,
which would be entered into without prejudice to any parties’ legal or equitable rights and without any waiver or
estoppel of those rights as they existed prior to the entry of this agreement (“Agreement”):

     o    Neither the LP Debtors nor the Receiver will take any actions to compel compliance with or seek approval for
          non-compliance with Section 543 pending the hearing on the Opposition Motions.
     o    The movants (the Receiver and Mitte) shall not seek an expedited hearing on their respective Opposition
          Motions.
     o    The Receiver Cash will remain in the Receiver’s custody.
     o    The DIP Cash will be collected by the LP Debtors and deposited in the appropriate DIP account.

                                   EXHIBIT A                                    1
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      o   Any post-petition expenses will be the responsibility of the LP Debtors, but use of DIP Cash to pay those
          expenses will only be by agreement of the LP Debtors, the Receiver and the applicable secured lender, or if no
          agreement can be reached, by order of the Bankruptcy Court.
      o   Likewise, pre-petition expenses would be the responsibility of the Receiver, but use of the Receiver Cash to pay
          those expenses would be by approval of the Bankruptcy Court (which would be required in any case for the
          payment of any pre-petition debt).
      o   For the avoidance of doubt, the LP Debtors will not sell or refinance the Real Property without prior approval of
          the Bankruptcy Court, which would be required in any event.
      o   For the avoidance of doubt, insurance on the Properties remains in full force and effect.
      o   The Agreement will terminate upon final hearing on the Opposition Motions.

If the terms are acceptable, then I think we would need to run this proposal by the secured lenders and Deborah Bynum
to obtain their consent, and then file a motion for approval of same by the Bankruptcy Court.

I believe the above addresses any concerns regarding the period between now and a hearing and determination of the
Opposition Motions. Please advise if you are in agreement or have any comments to this proposal.

All the best,

Mark H. Ralston | Attorney
FISHMAN | JACKSON | RONQUILLO PLLC
13155 Noel Road, Suite 700 | Dallas, Texas 75240
Direct Dial: 972.419.5544 | Fax: 972.419.5501
Email: mralston@fjrpllc.com

  -       FISHMAN JACKSON RONQ ILLO

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From: Stephen Lemmon <Lemmon@slollp.com>
Sent: Monday, August 10, 2020 9:41 AM
To: Mark Ralston <mralston@fjrpllc.com>; 'Chester, Ray' <rchester@mcginnislaw.com>
Cc: Rhonda Mates <Mates@slollp.com>; Daniel, William H. <WDaniel@mcginnislaw.com>
Subject: RE: WC 1st & Trinity LP et al [IWOV-Legal.FID105226]

So do you agree that the Receiver can continue to hold property pending a final hearing?

Stephen Lemmon

STREUSAND | LANDON | OZBURN | LEMMON LLP
Spyglass Point | 1801 South MoPac Expressway | Suite 320 | Austin, Texas 78746
(d) (512) 220-2688 | (o) (512) 236-9900 | (f) (512) 236-9904
lemmon@slollp.com | www.slollp.com

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Revenue Code or (ii) promoting, marketing, or recommending to another party any transaction or matter addressed herein.


From: Mark Ralston <mralston@fjrpllc.com>
Sent: Monday, August 10, 2020 9:38 AM
To: 'Chester, Ray' <rchester@mcginnislaw.com>
Cc: Stephen Lemmon <Lemmon@slollp.com>; Rhonda Mates <Mates@slollp.com>; Daniel, William H.
<WDaniel@mcginnislaw.com>
Subject: RE: WC 1st & Trinity LP et al [IWOV-Legal.FID105226]

Ray,

That is correct. For the same reasons as stated in my email to Stephen.

Best,


Mark H. Ralston | Attorney
FISHMAN | JACKSON | RONQUILLO PLLC
13155 Noel Road, Suite 700 | Dallas, Texas 75240
Direct Dial: 972.419.5544 | Fax: 972.419.5501
Email: mralston@fjrpllc.com

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From: Chester, Ray <rchester@mcginnislaw.com>
Sent: Monday, August 10, 2020 9:04 AM
To: Mark Ralston <mralston@fjrpllc.com>
Cc: Stephen Lemmon <Lemmon@slollp.com>; Rhonda Mates <Mates@slollp.com>; Daniel, William H.
<WDaniel@mcginnislaw.com>
Subject: WC 1st & Trinity LP et al

Mark,

As you know, Bill Daniel and I represent the Mitte Foundation. We have entered appearances in the 4 bankruptcy cases
you filed last Thursday. We are filing a motion to dismiss all 4 cases this morning. It is similar to the receiver’s motion. Is
it safe to assume you do not agree to an expedited hearing of our motion as well?

Thanks.

Ray


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Ray Chester
Board Certified Civil Trial Law and Personal Injury Trial Law
McGINNIS LOCHRIDGE
600 Congress Avenue, Suite 2100
Austin, TX 78701
o 512-495-6051 f 512-505-6351

                                             BOARD
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Mark Ralston

From:                           Ken Richey <kenrichey@gmail.com>
Sent:                           Tuesday, August 11, 2020 6:37 AM
To:                             Mark Ralston
Subject:                        20−10887 and 20-10888



Mark,



Thank you for giving me your contact information.



As you know, I represent Alan Nalle and the Nalle Plastics Family Limited Partnership.



I have received and reviewed a copy of Gregory S. Milligan's Motion to Dismiss the bankruptcy of the LP and
General Partner described in the bankruptcy filings in Case Numbers 20−10887 and 20-10888,
respectively. We oppose the Motion titled: MOTION TO DISMISS BANKRUPTCY CASES, OR, IN THE
ALTERNATIVE, MOTION FOR DECLARATION THAT RECEIVER MAY REMAIN IN CHARGE OF THE DEBTORS IN
POSSESSION.



I understand that Mr. Milligan, who was the state court receiver, has asked to set this motion on an
expedited basis. I want you to know that as the secured creditor, mortgage lender, and entity that has the
most interest in the property securing our mortgage loan to the WC 3rd & Congress LP, we do not want an
expedited hearing. We need the time to consider who will represent the Nalle Plastics Family Limited
Partnership and when and how to proceed. Gregory S. Milligan, after one phone call from his counsel in
November 2019 to Mr. Nalle, has never contacted or successfully attempted to contact Mr. Nalle or myself
or anyone else connected with the Nalle Plastics Family Limited Partnership.



If you have any questions, please feel free to contact us.



Thank you,



Kenneth A. Richey, Sr.                            EXHIBIT B
Attorney at Law

                                                        1
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Richey & Paver, P.C.
1910 Justin Lane
Austin , Texas 78757
Tel: 512.336.2863
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                                                                                                 Velva L. Price
                                                                                                District Clerk
                                                                                                Travis County
                              CAUSE NO. ______________________
                                         D-1-GN-20-003550                                    D-1-GN-20-003550
                                                                                                 Ruben Tamez




                                                                                           e
   1st and Trinity Super Majority, LLC and 3rd    §                  IN THE DISTRICT COURT




                                                                                        ic
   and Congress Super Majority, LLC,              §
                                                  §




                                                                                      Pr
        Plaintiffs,                               §
                                                  §              OF TRAVIS COUNTY, TEXAS




                                                                                 L.
   v.                                             §
                                                  §




                                                                              a
   Gregory S. Milligan, in his Individual         §




                                                                           lv
   Capacity and as Receiver for WC 1st and        §              ____ JUDICIAL DISTRICT
                                                              250TH




                                                                      Ve
   Trinity, LP and WC 3rd and Congress, LP;       §
   the Roy F. & JoAnn Cole Mitte Foundation;      §
   Stephen Wayne Lemmon, and Ray Charles          §




                                                                  k
   Chester,                                       §




                                                               er
                                                  §




                                                           Cl
        Defendants.                               §


                                                       ct
                                                   tri
                                                 is

              SUPER MAJORITY LIMITED PARTNERS’ ORIGINAL PETITION
                                           .D


          Plaintiffs 1st and Trinity Super Majority, LLC (“Trinity Super Majority”), the super
                                      Co




  majority owner of approximately 84% of all outstanding partnership interests in WC 1st and
                                  is




  Trinity, LP and 3rd and Congress Super Majority, LLC (“Congress Super Majority”), the super
                             av




  majority owner of approximately 92% of all outstanding partnership interests in WC 3rd and
                         Tr




  Congress, LP (collectively, the “Super Majority”,“Super Majority Limited Partners”, or “Super
                        y




  Majority Partners”) file this Original Petition against (1) Defendant Gregory S. Milligan, in both
                      op




  his capacity as putative receiver for WC 1st and Trinity, LP and WC 3rd and Congress, LP and in
               lc




  his individual capacity (“Milligan”); (2) the Roy F. & JoAnn Cole Mitte Foundation (the “Mitte
           ia
        fic




  Foundation” or “Mitte”); (3) Stephen Wayne Lemmon, as agent of Milligan, in his capacity as
  of




  putative receiver for WC 1st and Trinity, LP and WC 3rd and Congress, LP and in his individual
Un




  capacity (“Lemmon”); and (4) Ray Charles Chester, in his capacity as agent for Mitte and in his

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                                       EXHIBIT C
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  individual capacity (“Chester”) (collectively, “Defendants”).




                                                                                               e
                                 DISCOVERY-CONTROL PLAN




                                                                                            ic
                                                                                       Pr
         1.      The Super Majority Limited Partners intend to conduct discovery under Level 2 of

  Texas Rule of Civil Procedure Section 190.3.




                                                                                   L.
                                       CLAIM FOR RELIEF




                                                                               a
                                                                            lv
         2.      The Super Majority Limited Partners seek monetary relief of more than




                                                                        Ve
  $100,000.00, as well as declaratory and other nonmonetary relief.




                                                                    k
                                              PARTIES




                                                                  er
                                                             Cl
         3.      Plaintiff 1st and Trinity Super Majority, LLC is a Delaware limited liability

  corporation, with its principal place of business at 814 Lavaca Street, Austin, Texas, and its
                                                        ct
                                                    tri
  registered agent is Cogency Global Inc., 1601 Elm Street, Suite 4360, Dallas, Texas 75201.
                                                 is

         4.      Plaintiff 3rd and Congress Super Majority, LLC is a Delaware limited liability
                                            .D



  corporation, with its principal place of business at 814 Lavaca Street, Austin, Texas, and its
                                       Co




  registered agent is Cogency Global Inc., 1601 Elm Street, Suite 4360, Dallas, Texas 75201.
                                  is




         5.      Defendant Gregor S. Milligan, in his capacity as putative receiver for both WC 1st
                              av




  and Trinity, LP and 3rd and Congress, LP, is an individual and is a resident of Travis County,
                          Tr




  Texas, and may be served with process at his place of business, 401 Congress Avenue, Suite 1540,
                     y




  Austin, Texas 78701, or at his residence, 1901 Holiday Hills, Austin, Texas 78732.
                  op




         6.      Defendant Mitte Foundation is registered as a Texas non-profit corporation, with
           lc




  its principal office in Travis County, Texas, and may be served through its registered agent Carolyn
         ia
      fic




  Molstad, 1008 West Avenue, Austin, Texas 78701.
  of




         7.      Defendant Lemmon who represents Milligan, in his capacity as putative receiver
Un




  for WC 1st and Trinity, LP and WC 3rd and Congress, LP, and is an individual and is a resident of

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  Travis County, Texas, and may be served with process at his principal place of business, Streusand,




                                                                                                 e
  Landon, Ozburn & Lemmon, LLP, Spyglass Point, 1801 S. MoPac Expressway, Suite 320, Austin,




                                                                                              ic
                                                                                          Pr
  TX 78746 or at his residence, 4401 Shoal Creek Blvd., Austin, Texas 78756.

             8.       Defendant Chester, who represents Mitte, and is an individual and is a resident of




                                                                                     L.
  Travis County, Texas, and may be served with process at his principal place of business, McGinnis




                                                                                  a
                                                                               lv
  Lochridge, 600 Congress Ave., Ste. 2100, Austin, Texas 78701 or at his residence, 4408 Long




                                                                          Ve
  Champ Drive #31, Austin, Texas 78746.




                                                                       k
                                                       VENUE




                                                                    er
                                                                Cl
             9.       Venue is proper in Travis County, Texas under Texas Civil Practice and Remedies

  Code Section 15.002(a)(1) because all or a substantial part of the acts or omissions giving rise to
                                                               ct
                                                            tri
  the Super Majority’s claims occurred in Travis County, Texas.
                                                        is

                                                       FACTS
                                                       .D



             A.       The Trinity Limited Partnership.
                                               Co




             10.      WC 1st and Trinity, LP (the “Trinity Limited Partnership”) is an investment entity
                                          is




  organized “[t]o acquire, own, hold, sell, assign, transfer, operate, lease, mortgage, pledge and
                                     av




  otherwise deal with [] certain parcel[s] of real property.” 1 The Trinity Limited Partnership and the
                                 Tr




  partners thereto are bound by the Agreement of Limited Partnership of WC 1st and Trinity, LP that
                          y




  became effective on July 2, 2012 (the “Trinity Partnership Agreement”), setting forth the rights
                       op




  and obligations of all partners. The Trinity Super Majority currently holds approximately 84% of
              lc




  the Trinity Limited Partnership; whereas, the Mitte Foundation currently holds only a 15.84%
            ia
         fic




  minority limited partnership interest. The real property owned by the Trinity Limited Partnership
  of
Un




  1
      See Trinity Partnership Agreement § 1.3(a)(i).

                                                         3
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  consists of approximately 40,934 square feet of land located at 401 E. Cesar Chavez Street in




                                                                                                             e
  downtown Austin. Since the inception of this partnership and the purchase of this real property,




                                                                                                          ic
                                                                                                     Pr
  the value of the real property has appreciated significantly, and the value of the partnership’s assets

  currently significantly exceeds its debts.




                                                                                                L.
          11.      The rights and responsibilities of the partners in the Trinity Limited Partnership are




                                                                                           a
                                                                                        lv
  described and identified in the Trinity Partnership Agreement. WC 1st and Trinity, GP, LLC




                                                                                   Ve
  (“Trinity General Partner”), an entity created specifically to serve as general partner, is identified




                                                                               k
  in the Trinity Partnership Agreement as the General Partner of the Trinity Limited Partnership,




                                                                           er
                                                                      Cl
  holding a 1% general partner ownership interest. By the express terms of the Trinity Partnership

  Agreement, only the Trinity General Partner may direct the business and affairs of the Trinity
                                                                 ct
                                                            tri
  Limited Partnership. As clearly articulated in Section 6.1 of the Trinity Partnership Agreement,
                                                        is

  minority limited partners—such as the Mitte Foundation—have no authority to take part in the
                                                   .D



  management or control of the partnership or its business and affairs, or to act for or to bind the
                                             Co




  partnership in any way. As detailed herein, the Mitte Foundation is a repeat offender, having
                                        is




  breached these obligations with abandon, in collusion with the other named defendants and with
                                  av




  their knowledge, approval, and active assistance.
                              Tr




          B.       The Congress Limited Partnership.
                        y




          12.       WC 3rd and Congress, LP (the “Congress Limited Partnership” 2) is a separate
                     op




  investment entity organized “[t]o acquire, own, hold, sell, assign, transfer, operate, lease,
           lc
         ia
      fic
  of




  2
   The Trinity Limited Partnership and the Congress Limited Partnership are collectively referred to as the “Limited
Un




  Partnerships.”

                                                           4
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  mortgage, pledge and otherwise deal with [] certain parcel[s] of real property.” 3 The Congress




                                                                                                            e
  Limited Partnership and the partners thereto are bound by the Agreement of Limited Partnership




                                                                                                         ic
  of WC 3rd and Congress, LP that became effective on December 28, 2012, (the “Congress




                                                                                                    Pr
  Partnership Agreement” 4), which sets forth the rights and obligations of all partners. The Congress




                                                                                               L.
  Super Majority currently holds approximately 92% of the Congress Limited Partnership, whereas




                                                                                           a
                                                                                        lv
  the Mitte Foundation owns only a 6.83% minority limited partnership interest. The real property




                                                                                  Ve
  owned by the Congress Limited Partnership consists of a 1.24-acre parcel of land made up of three




                                                                              k
  contiguous tracts, located at 201 Colorado Street, 203 Colorado Street, and the intersection of 3rd




                                                                          er
                                                                      Cl
  Street and Congress Avenue in downtown Austin. As is the case with the Trinity Limited

  Partnership, since the inception of the Congress Limited Partnership and its purchase of this real
                                                                ct
                                                            tri
  property, the value of the real property has appreciated significantly, and the value of the
                                                        is

  partnership’s assets currently significantly exceeds its debts.
                                                    .D



             13.      The rights and responsibilities of the partners in the Congress Limited Partnership
                                              Co




  are set forth in the Congress Partnership Agreement. WC 3rd and Congress, GP, LLC (the
                                         is




  “Congress General Partner”), an entity created specifically to serve as general partner, is identified
                                    av




  in the Congress Partnership Agreement as the General Partner of the Congress Limited
                                Tr




  Partnership, holding a 1% general partner ownership interest. By the express terms of the Congress
                          y




  Partnership Agreement, only the General Partner may direct the business and affairs of the
                       op




  Congress Limited Partnership. Further, it is clearly articulated in Section 6.1 that minority limited
              lc
            ia
         fic




  3
      See Congress Partnership Agreement § 1.3(a)(i).
  of




  4
    The Congress Partnership Agreement and the Trinity Partnership Agreement are referred to collectively herein as
Un




  the “Partnership Agreements.”

                                                          5
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  partners—such as the Mitte Foundation—have no authority to take part in the management or




                                                                                                 e
  control of the partnership or its business and affairs, or to act for or to bind the partnership in any




                                                                                              ic
                                                                                          Pr
  way. Again, as detailed herein, the Mitte Foundation is a repeat offender, having breached these

  contractual obligations with abandon, in collusion with the other named defendants and with their




                                                                                     L.
  knowledge, approval, and active assistance.




                                                                                  a
                                                                               lv
         C.      The Mitte Foundation’s small minority ownership interests do not entitle it to




                                                                          Ve
                 make any material decisions on behalf of the Limited Partnerships.

         14.     Not only is Mitte expressly prohibited from taking part in the management or




                                                                      k
                                                                  er
  control of the Limited Partnerships, or their business and affairs, its small minority ownership




                                                              Cl
  interests do not come anywhere close to the pertinent consent thresholds needed to make material

                                                          ct
  decisions, including but not limited to directing the sale of assets under Section 5.3(b) or
                                                      tri
  liquidation of the partnership under Section 13.1 of the Partnership Agreements. Such material
                                                  is
                                             .D


  decisions require either the approval of a super majority (75%) or a simple majority (50%)
                                        Co




  ownership, which the Mitte Foundation does not have—holding minority limited partnership

  interests of 6.83% and 15.84% in the respective Limited Partnerships. Thus, all material decisions
                                   is




  require the participation of the respective Super Majority. At no time since the inception of the
                               av




  investments has the Mitte Foundation ever held ownership interests sufficient to achieve a majority
                           Tr




  or super majority in either of the Limited Partnerships, and the limitations on the Mitte
                     y
                  op




  Foundation’s minority positions and attendant rights were known to it and were acknowledged by
           lc




  it at the time the Mitte Foundation made the investments upon review by its counsel.
         ia




         D.      A dispute arises due to the Mitte Foundation’s and its agent’s inappropriate
      fic




                 interference in the management and affairs of the Limited Partnerships.
  of




         15.     In 2018, the Limited Partnerships and the Mitte Foundation were engaged in a
Un




  dispute relating to agents of the Mitte Foundation interfering with the management and affairs of

                                                    6
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  the Limited Partnerships, including but not limited to sharing confidential partnership information




                                                                                                   e
  with third parties in breach of the Partnership Agreements, and the Mitte Foundation representing




                                                                                                ic
                                                                                            Pr
  to third parties that it was a controlling partner with authority to solicit offers from third parties to

  purchase the Limited Partnerships’ assets.       In the course of this dispute, the Mitte Foundation




                                                                                       L.
  requested access to the Limited Partnerships’ books and records. The Limited Partnerships,




                                                                                   a
                                                                                lv
  however, were troubled about the ramifications of releasing confidential information to the Mitte




                                                                           Ve
  Foundation, as a suspected disclosure by Mitte to a third party had formed the crux of the initial




                                                                        k
  dispute.      The Limited Partnerships advised Mitte that they would produce the requested




                                                                    er
                                                                Cl
  information, but the production would have to be protected under a non-disclosure and

  confidentiality agreement. Incensed at the notion of being asked to uphold their obligation to keep
                                                           ct
                                                       tri
  the information of the Limited Partnerships confidential, on December 27, 2018, Mitte brought
                                                   is

  suit in Travis County District Court, seeking injunctive relief. The Lawsuit was assigned Case
                                              .D



  No. D-1-GN-18-007636, (the “Mitte Foundation Lawsuit” or the “Document Production
                                        Co




  Lawsuit”).
                                    is




          16.      In February 2019, the Limited Partnerships and General Partners initiated
                               av




  arbitration proceedings under the Partnership Agreements against Mitte for its multiple and
                           Tr




  continued breaches of the Partnership Agreements, seeking to end the toxic relationship with Mitte,
                       y




  which had proven itself to be a rogue limited partner. The matter was assigned Arbitration Case
                    op




  No. 01-19-000-5347 (the “Arbitration Proceeding”).           Susan Covington (“Covington” or the
           lc




  “Arbitrator”) was chosen to serve as arbitrator.
         ia
      fic
  of
Un




                                                     7
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           E.      The Mitte Foundation seeks the appointment of a receiver for the Limited
                   Partnerships and proffers their own conditioned agent as a “neutral” and




                                                                                                           e
                   disinterested party.




                                                                                                        ic
                                                                                                   Pr
           17.     In the course of the Arbitration Proceeding, Mitte sought the appointment of a

  receiver over the Limited Partnerships.            At an October 4, 2019 hearing in the Arbitration




                                                                                              L.
  Proceeding, Mitte put forward Milligan as a “neutral,” outside, and disinterested party who would




                                                                                          a
                                                                                       lv
  serve well as a receiver. 5 There was no disclosure whatsoever at the hearing of any prior




                                                                                 Ve
  relationship between Milligan and his agents and Mitte and its agents.




                                                                              k
           18.     As further detailed below, the Super Majority later discovered, however, that




                                                                         er
                                                                     Cl
  Mitte’s relationship with Milligan dates back to as early as August 20, 2019, when the Mitte

  Foundation had started providing Milligan documents that were subject to a district court
                                                                ct
                                                           tri
  protective order and that were therefore not to be shared unless (a) the receiving party was a
                                                       is

  consultant or professional engaged by Plaintiff or Plaintiff’s counsel, who (b) signed a non-
                                                  .D



  disclosure agreement subjecting such person to the jurisdiction of the Court for enforcement of the
                                            Co




  agreement. Exhibit 1. In other words, well before Milligan was proffered by Mitte as a “neutral”
                                       is




  and disinterested party, he was being provided confidential information concerning the Limited
                                  av




  Partnerships or belonging to the Limited Partnerships in violation of a district court protective
                             Tr




  order.
                       y




           19.     Further, Mitte disingenuously proffered Milligan as a “neutral,” when in reality he
                    op




  had been conferring and conspiring with the Mitte Foundation about how they could use him to
           lc




  effectuate a sale of the Limited Partnerships assets, attempting to achieve a result unavailable to
         ia
      fic
  of




  5
    Later, at a December 5, 2019, hearing in the Document Production Lawsuit, the Mitte Foundation would again
  disingenuously tender Milligan as a “neutral,” outside and disinterested party. As he would repeatedly show by his
Un




  actions and inactions, he was none of these.

                                                          8
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  them under the Partnership Agreements, well before the hearings on the appointment of a receiver.




                                                                                                e
  Mitte hand-selected Milligan in order to have a partisan bagman to achieve for Mitte what it could




                                                                                             ic
                                                                                         Pr
  not do under the Partnership Agreements, i.e., to commandeer the management and affairs of the

  Partnerships and to sell the assets. Milligan and his counsel complied, undoubtedly in anticipation




                                                                                    L.
  of a hefty pay day.




                                                                                 a
                                                                              lv
         20.     It has thus become apparent in the past several months that either (a) Milligan had




                                                                         Ve
  been working as a consultant to the Mitte Foundation before Mitte tendered him as a proposed




                                                                      k
  receiver (and if that were the case, this conflict was not disclosed to the Arbitrator or to any other




                                                                  er
                                                              Cl
  party); or (b) Milligan had obtained or had been provided with confidential information in direct

  violation of a court order. Neither is lawful.
                                                         ct
                                                     tri
         21.     Without the benefit of this and other background information showing that Milligan
                                                   is

  was by no means “neutral,” or disinterested, and without knowing he had been selected by Mitte
                                             .D



  to attempt to force a sale under the guise of neutrality—a result Mitte could not otherwise obtain
                                       Co




  given its limited rights under the Partnership Agreements, that Arbitrator considered the Mitte
                                   is




  Foundation’s request for receivership. Acting on incomplete and concealed information, on
                              av




  October 11, 2019, the Arbitrator appointed Milligan to be receiver for the Limited Partnerships
                          Tr




  (creating the “Arbitration Receivership”), on the basis of an unfounded claim that there was an
                     y




  imminent risk of loss, harm or injury to the assets the Partnerships owned.
                  op




         F.      Based on incomplete and withheld information, the Arbitration Receivership
           lc




                 is established and the Receiver immediately sets out to undermine the Limited
                 Partnerships for the benefit of the Mitte Foundation and its agents.
         ia
      fic




         22.     Receivership is one of the “harshest” remedies available in the legal system.
  of




  Accordingly, the applicable statutes impose exact requirements and protocols. Consistent with
Un




  these requirements and protocols, on its own terms, the order creating the Arbitration Receivership

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  facially required strict satisfaction of pre-conditions before it could be considered to be effective,




                                                                                                   e
  including bond requirements and the filing of the statutorily-required oath by any receiver




                                                                                                ic
                                                                                            Pr
  appointed to undertake such a task.

          23.     But the evidence has shown that Milligan, by himself or through his counsel




                                                                                       L.
  Lemmon, began taking active and consequential steps as a putative receiver well before he was




                                                                                   a
                                                                                lv
  appointed (including but not limited to pre-determining at the direction of Mitte that he would




                                                                           Ve
  make a recommendation to sell the Limited Partnership assets once appointed as receiver),




                                                                        k
  certainly before the required bonds were posted, and without question before he swore out the




                                                                    er
                                                                Cl
  statutorily-mandated oath, including but not limited to reaching out to banks, and on October 21,

  2019, making filings in the real property records.
                                                           ct
                                                       tri
          24.     Even more troubling is that as recently as June 25, 2020, Milligan admitted under
                                                   is

  oath to not having familiarity with the Partnership Agreements, which govern the rights and
                                              .D



  responsibilities of the partners, as well as his rights and responsibilities as receiver, upon stepping
                                        Co




  into the shoes of the General Partner.
                                    is




          25.     On October 14, 2019, Milligan filed his required receiver’s bond in the amount of
                               av




  $10,000.00. The same day, Mitte filed an applicant’s bond in the amount of $100,000.00. But
                           Tr




  since Milligan failed to file the statutorily- required oath until November 4, 2019, that is the earliest
                      y




  date the Arbitration Receivership could have become effective. Any responsible fiduciary of the
                   op




  Court, especially one with the experience Milligan claims to have, would have known his oath was
           lc




  a prerequisite to effectiveness of his receivership.
         ia
      fic




          26.     When counsel for the Limited Partnerships brought the failure to file oath to
  of




  Lemmon and Milligan’s attention, Milligan had acknowledged his failure to take the required oath
Un




  in an interim report submitted in the Arbitration (the oath required by Tex. Civ. Prac. & Rem. Code

                                                     10
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  § 64.022). That is, he waited to take the oath until after he had taken many if not most of the
                                                         ---




                                                                                            e
  actions described in the interim report, under the guise of being a lawfully-appointed receiver. All




                                                                                         ic
                                                                                       Pr
  the actions he took prior to November 4, 2019, were thus unquestionably unauthorized. See

  Harmon v. Schoelpple, 730 S.W.2d 376, 378 (Tex. App.—Houston [14th Dist.] 1987, no writ)




                                                                                   L.
  (reversing trial court order appointing a receiver and enjoining the receiver from entering the




                                                                                 a
                                                                              lv
  receivership property in part because the receiver did not take an oath).




                                                                        Ve
         27.     Further, email correspondence between and among Chester, Lemmon and Milligan




                                                                    k
  from prior to the hearing on the receivership appointment also show that as early as September 4,




                                                                 er
                                                               Cl
  2019 the parties were aware the Arbitration Receivership would likely not have any effect until

  confirmed by the district court. Exhibit 2. Indeed, on or about October 31, 2019, Mitte sought
                                                         ct
                                                     tri
  confirmation of the Arbitration Receivership. Despite knowing he had not taken his oath and that
                                                 is

  district court confirmation was necessary for him to exercise any authority, on or about October
                                            .D



  23, 2019, Milligan had already begun contacting the Partnership’ lenders and banks and executing
                                       Co




  the plan to orchestrate a fire-sale and his hefty pay day.
                                   is




         28.     The Super Majority intervened and asked for a continuance to allow counsel to get
                              av




  up to speed before the district court considered the request for confirmation. Chester blocked that
                          Tr




  effort and set a hearing on the motion for a date to which the parties had not agreed in advance.
                    y




  The arbitrator’s interlocutory order was summarily confirmed in a less than one hour hearing.
                  op




  (“Confirmation Order”).
               lc




         29.     Given the unseemliness of the foregoing ratification of an interlocutory order in an
         ia
      fic




  arbitration outside its jurisdiction, the Limited Partnerships immediately sought mandamus review.
  of




  On November 6, 2019, the Third Court of Appeals stayed the Arbitration Receivership in its
Un




                                                   11
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  entirety. On November 20, 2019, in compliance with the Third Court of Appeals’ decision, the




                                                                                              e
  Arbitrator stayed the Arbitration Receivership.




                                                                                           ic
                                                                                       Pr
         30.     Immediately after the November 6, 2019 stay, Milligan, Chester, Lemmon and

  Mitte began conniving about how they could effectuate their scheme in spite of the Court of




                                                                                  L.
  Appeals stay. Exhibit 3. On November 13, 2019, Mitte countered by filing an application for a




                                                                               a
                                                                            lv
  receiver in Case No. D-1-GN-18-007636, again disingenuously proffering Milligan as a “neutral”




                                                                       Ve
  to serve as receiver.




                                                                    k
         31.     Suspecting collusion among Milligan, Lemmon, Chester and the Mitte Foundation,




                                                                er
                                                            Cl
  the Limited Partnerships asked Lemmon to produce all communications between and among them,

  which were long overdue. Lemmon and Milligan refused to provide those communications,
                                                         ct
                                                     tri
  offering no plausible excuse. The Limited Partnerships had no alternative but to file a subpoena
                                                is

  duces tecum directing Milligan to produce the documents. Even then, they were not produced to
                                           .D



  the Limited Partnerships until the morning of the hearing on the application to appoint a receiver.
                                      Co




  The documents showed that reason for withholding this production was that Milligan was
                                  is




  specifically instructed to do so in an email from Chester, and in typical fashion, Milligan
                              av




  acquiesced.
                          Tr




         32.     Upon reviewing the untimely production, it became clear why Lemmon and
                     y




  Milligan had resisted producing information that rightly belonged to the Limited Partnerships and
                  op




  which was not subject to any claim of privilege.
           lc




         33.     The documents reveal hundreds of communications that show that Milligan,
         ia
      fic




  Chester, Lemmon and Mitte had been colluding and working together since August 2019, if not
  of




  before, scheming to effectuate a sale of the Limited Partnerships’ assets through receivership. In
Un




  addition, the communications show that the parties would “huddle” and “strategize” before and

                                                    12
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  after court hearings and filings for scripted performances Exhibit 4. Then, for each filing and




                                                                                                 e
  hearing, a charade ensued with Chester pulling the strings of Milligan and Lemmon, their puppets.




                                                                                              ic
                                                                                          Pr
  Further, after their efforts were stayed the first time in November 2019, the documents confirmed

  the Defendants strategizing to find a way to get around the mandamus stay by seeking the




                                                                                     L.
  appointment of a receiver directly by the district court, a vehicle they were unsure was legally




                                                                                  a
                                                                               lv
  available to them. The documents also show they worked together to ensure that the proposed




                                                                          Ve
  receivership order would “remove provisions onerous to the receiver” (Exhibit 5) and include a




                                                                      k
  compensation structure that would handsomely reward Milligan if he were to sell the property with




                                                                  er
                                                              Cl
  as few restrictions as possible on his ability to get paid. In one document in which the conspirators

  collaborated on the form of receivership order, Chester specifically instructed Milligan, “the plan
                                                          ct
                                                      tri
  will be to sell the property as soon as possible” (Exhibit 6) Milligan began to effectuate this plan
                                                  is

  the moment he was appointed as receiver in the arbitration, and continually thereafter.
                                             .D



         34.     Chester and the Mitte Foundation knew that they have no contractual right to force
                                        Co




  a sale of the property under the terms of the Partnership Agreements; that right belongs only to the
                                   is




  Super Majority Partners. They chose Milligan as their front man to try to pull off an expedited
                               av




  and otherwise ill-advised sale of the properties, to the detriment of the largest owners and the
                           Tr




  parties with the most capital at risk in the investments, the Super Majority Partners. Milligan did
                     y




  happily his part – acting at once to try to force a sale – at the promise of an egregiously over market
                  op




  pay-day upon a sale. Lemmon not only condoned Milligan’s actions, but aided and abetted them
           lc




  through is actions as counsel for Milligan and at times with the threat of use of force or law
         ia
      fic




  enforcement. Milligan and Lemmon are complicit, holding themselves out to be neutrals and to
  of




  be honest fiduciaries, when they are in fact acting at the behest of the Mitte Foundation. They
Un




  have a considerable incentive to do so given the egregious compensation structure upon to which

                                                    13
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  all of them agreed. To date, Chester and Lemmon have refused to provide their engagement




                                                                                               e
  agreement. Milliganhas failed to file the required quarterly reports revealing the costs and expenses




                                                                                            ic
                                                                                        Pr
  (including their own) that they have incurred on behalf of the Limited Partnerships, and at the price

  of not only the Super Majority Partners, but also of public charitable funds held by the Mitte




                                                                                    L.
  Foundation.




                                                                                a
                                                                             lv
         35.     Finally, the production showed that Chester specifically instructed Milligan and




                                                                        Ve
  Lemmon not to produce documents to the partnerships “until the last possible time required under




                                                                     k
  statute,” which explains why the production was only tendered the morning of the hearing on the




                                                                 er
                                                             Cl
  Mitte’s district court application to appoint a receiver. Once again Milligan did Chester’s bidding

  and acted at his specific instruction, and once again clearly demonstrating he is not and was not
                                                         ct
                                                     tri
  acting as a neutral and disinterested receiver entrusted with extraordinary power under statute.
                                                 is

         G.      Unable to effectuate their plan in the Arbitration Receivership, the Mitte
                                            .D


                 Foundation and its agents attempt to insert Milligan through the district court
                 and continue their efforts to undermine the Limited Partnerships and enrich
                                       Co




                 themselves.

         36.     On December 9, 2019, a hearing was held before Judge Soifer on the motion
                                   is




  Chester filed to have a receiver (again the hand-picked and unvetted Milligan) appointed directly
                              av




  by the District Court. On December 10, 2019, Judge Soifer granted Mitte’s and Chester’s request
                          Tr




  and appointed Milligan (represented again by Lemmon) as receiver for the separate receivership
                     y
                  op




  (the “District Court Receivership”), a separate and distinct receivership that would become
           lc




  effective only upon payment of a second set of bonds, one to be filed by the applicant and one to
         ia




  be filed by the receiver, as well as a separate statutorily-required oath to be sworn out by the
      fic




  putative Receiver Milligan. The Limited Partnerships appealed the District Court Receivership on
  of




  December 11, 2019.
Un




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         37.     Milligan posted his $10,000.00 bond and his statutorily-required oath in the District




                                                                                               e
  Court Receivership on December 12, 2019. Mitte, however, failed to post the bond required in the




                                                                                            ic
                                                                                       Pr
  District Court Receivership and did not do so until January 7, 2020. Once again, just as he had

  done under the Arbitration Receivership, Milligan began taking active and consequential steps




                                                                                   L.
  under the District Court Receivership, exercising the extraordinary powers inherent in a




                                                                               a
                                                                            lv
  receivership order before it became effective.




                                                                        Ve
         38.      On December 13, 2019, before the District Court Receivership ostensibly became




                                                                    k
  effective, Milligan brought suit in a case now assigned Case No. D-1-19-008609 (the “Fraudulent




                                                                 er
                                                             Cl
  Transfer Lawsuit”), alleging improprieties in the lawful transfer of funds by the Partnership.

  Receiver conducted no diligence other than summarily looking at bank statements prior to filing
                                                        ct
                                                       tri
  this suit. Further, the Receiver has recently acknowledged under oath that he had not conducted a
                                                   is

  sufficient investigation into the law, the facts and the governing documents before filing the
                                            .D



  Fraudulent Transfer Lawsuit. That acknowledgement must of course be attributed equally to his
                                       Co




  counsel Lemmon. Once again, had they read the governing Partnership Agreements prior to filing
                                  is




  this suit, they would have known that the transfers they allege were problematic were specifically
                              av




  contemplated under the Limited Partnerships. The pursuit of this frivolous litigation has harmed
                          Tr




  the Super Majority by burdening the Partnerships with additional cost and expense of litigation
                     y




  and creating a cloud over the Partnerships ability to conduct business.
                  op




         39.     On December 19, 2019, the Third Court of Appeals once again and put a halt to the
           lc




  District Court Receivership, by placing additional restrictions on the receivership pending a follow
         ia
      fic




  up hearing on supersedeas with the district court.
  of




         40.     On January 6, 2020, a follow up hearing was held in district court in the Document
Un




  Production case. At this follow up hearing, the Limited Partnerships presented evidence showing

                                                   15
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  that the Applicant’s bond required to make the District Court Receivership effective had not yet




                                                                                               e
  been posted by the Mitte Foundation.




                                                                                            ic
                                                                                        Pr
         41.     Milligan gave voice to the obvious, acknowledging that if Judge Soifer were not to

  find that the receivership was effective as of December 10, 2019, the Fraudulent Transfer Lawsuit




                                                                                    L.
  he had hastily filed on December 13, 2019 on Mitte’s behest, would have been barred by




                                                                                a
                                                                             lv
  limitations. Mitte argued that it had satisfied its bond requirement by the posting of the bond under




                                                                        Ve
  the Arbitration Receivership, even though Milligan’s posting of an additional bond and oath




                                                                     k
  clearly evidenced an understanding that new bonds were necessary under this new order. Judge




                                                                 er
                                                             Cl
  Soifer seemingly solved Milligan’s and Mitte’s dilemma by entering a retroactive ratification of

  her order to allow Milligan’s claims in this lawsuit that otherwise would be barred by limitations
                                                         ct
                                                     tri
  to proceed and directed “out of an abundance of caution” that Mitte file an additional bond in the
                                                 is

  amount of $100,000.00.
                                            .D



         42.     The requirement to file such bond was an express condition to the effectiveness of
                                       Co




  the December 10, 2019 order, and by later changing the requirements for the effectiveness of her
                                   is




  order, Judge Soifer thus usurped the legislative function by rewriting the state code governing
                              av




  receivership, admittedly one of the harshest remedies available.
                          Tr




         43.     Since that time, Milligan has engaged in a series of acts inconsistent with the best
                     y




  interests of both the Super Majority and the Partnerships, and in breach ofthe express terms of the
                  op




  Limited Partnership Agreements. He stands to misuse, waste, and squander Limited Partnership
           lc




  assets, specifically those of the Super Majority and other unnamed minority partners. Milligan has
         ia
      fic




  also taken multiple actions without notifying the other limited partners, including the
  of




  SuperMajority , and without their consent, in violation of the Limited Partnership Agreement.
Un




                                                   16
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                                        70



         44.       Those acts include preparation and presentation of a Plan of Liquidation that would




                                                                                               e
  result in the squandering of Partnership assets, without even so much as contacting the Super




                                                                                            ic
                                                                                        Pr
  Majority Partners has by far the most capital investment at risk.

         45.       Milligan is receiving a guaranteed hourly fee but also stands to be rewarded with




                                                                                    L.
  an outrageously disproportionate contingency fee at the conclusion of this litigation. He has




                                                                                a
                                                                             lv
  blatantly acted not in the best interest of the Limited Partnerships but at the behest of the Mitte




                                                                        Ve
  Foundation, Lemmon, and Chester, and has certainly entirely failed to take into consideration the




                                                                      k
  best interests of the Super Majority Partners. If he were successful in his efforts, including




                                                                 er
                                                             Cl
  engineering a fire sale of the properties, that his compensation could, upon information and belief,

  result in a nearly $4 million pay day to Milligan, which notably is greater than the fair market
                                                         ct
                                                     tri
  value of Mitte’s entire interest in both Partnerships. This egregious back-end contingency fee did
                                                  is

  not come about by coincidence. Milligan’s handwritten notes from a phone call on September 24,
                                             .D



  2019 between Chester and Milligan show that the Defendants and the Mitte board of directors
                                        Co




  engineered Milligan’s compensation to pay out a higher contingency fee windfall to both Milligan
                                    is




  and Lemmon (Milligan’s handwritten notes state that “[Mitte board of directors] strongly prefer
                               av




  % for GSM [Gregory S. Milligan and] Lemmon”) at the expense of the Super Majority Partners,
                           Tr




  and significantly reduce the up-front cost of receivership to Mitte. This had the effect of foisting
                       y




  the egregious contingency expense onto the Super Majority Partners given their lion’s share
                    op




  ownership of the Partnerships (Milligan’s handwritten notes state “[Mitte is] only paying 6-11%
           lc




  [and] 15% if total fee so [do not] care as much about % but feel it should be a single digit
         ia
      fic




  #]).Exhibit 7.
  of




         46.       Alarmingly, despite the extraordinary powers he is entrusted with as a fiduciary to
Un




  the Limited Partnerships and its equity holders under statute, as recently as June 25, 2020, Milligan

                                                   17
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  testified that he has not even taken the time to understand and become familiar with the Partnership




                                                                                                e
  Agreements that govern the Limited Partnerships, the rights, responsibilities and obligations of the




                                                                                             ic
                                                                                         Pr
  partners, and that govern his own authorities and scope, as he under the District Court Receivership

  steps into the shoes of the General Partners, whose scope of authority and related restrictions are




                                                                                    L.
  expressly governed by the Limited Partnership Agreements. If he had, he would have seen many




                                                                                 a
                                                                              lv
  of his actions are strictly forbidden, or otherwise require the consent of the Super Majority Partners




                                                                         Ve
  who bring this action.




                                                                      k
         47.     Perhaps most egregiously, at no time since his original appointment in October




                                                                  er
                                                              Cl
  2019, has Milligan ever attempted to contact, meet with, or communicate in any way with the

  Super Majority Partners regarding their investment, their at-risk capital, the Partnerships or his
                                                         ct
                                                     tri
  receivership. Nor upon information and belief has he communicated with other unnamed minority
                                                  is

  partners. He has even gone so far as to file a recommendation to liquidate the assets of the Trinity
                                             .D



  Partnership, summarily deciding doing so is in the best interest of the partners when he has not
                                       Co




  even asked the Super Majority Partners, who hold veto power over any material decision making
                                   is




  and have the most significant capital at risk, what they wish to achieve from the investment.
                              av




         48.     As previously noted, Lemmon and Chester have failed to produce their engagement
                           Tr




  agreements. Milligan has failed to produce required quarterly reports indicating the fees and
                     y




  expenses he has incurred to the Partnerships. There is no legitimate explanation for Defendants’
                  op




  otherwise inexplicable actions that have jeopardized or that stand to jeopardize the financial
           lc




  position of the Limited Partnerships, the Super Majority, the charitable funds held in trust by the
         ia
      fic




  Mitte Foundation, and everyone else with a valid interest in the Limited Partnerships.
  of
Un




                                                   18
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                                        70



            49.   As a consequence of these events and the course of self-dealing between and among




                                                                                                 e
  the Defendants, the SuperMajority Limited Partners have been substantially harmed and stand to




                                                                                              ic
                                                                                         Pr
  suffer further harm if declaratory relief is not granted as soon as practicably possible.

                         COUNT 1 – SUIT FOR DECLARATORY RELIEF




                                                                                    L.
            50.   The Super Majority incorporates the foregoing paragraphs as if fully set forth




                                                                                 a
                                                                              lv
  herein.




                                                                         Ve
            51.   The purpose of a declaratory action is to establish existing rights, status, or other




                                                                      k
  legal relationships. City of El Paso v. Heinrich, 284 S.W.3d 366, 370 (Tex. 2009). A declaratory




                                                                  er
                                                              Cl
  judgment is appropriate when there is a justiciable controversy about the rights and status of the

  parties, and the declaration would resolve the controversy. Bonham State Bank v. Beadle, 907
                                                             ct
                                                         tri
  S.W.2d 465, 467 (Tex. 1995).
                                                    is

            52.   As set forth above, there is a justiciable controversy concerning the lawfulness of
                                               .D



  the Arbitration Receivership and the District Court Receivership.
                                         Co




            53.   Assuming arguendo the Arbitration Receivership and the District Court
                                    is




  Receivership were lawfully-created, there is a justiciable controversy as to the date each became
                                av




  effective.
                            Tr




            54.   Assuming arguendo the Arbitration Receivership and the District Court
                      y




  Receivership were lawfully-created, and that a date or event upon which each became effective
                   op




  can be pinpointed, there remains a justiciable controversy whether in either proceeding Milligan
           lc




  was properly appointed to be receiver, given the amount of undisclosed information concerning
         ia
      fic




  his conflicts of interest that later came to light.
  of




            55.   And finally, assuming arguendo Milligan was properly appointed to be a receiver
Un




  in either or both proceedings, there is a justiciable controversy about which if any of his actions

                                                        19
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  and inactions was consistent with (i) the respective receivership orders; (ii) the governing




                                                                                                 e
  Agreements; and (iii) Texas law governing receiverships.




                                                                                              ic
                                                                                          Pr
         56.     It is for these reasons that the Super Majority seeks a declaratory judgment under

  Texas Civil Practice and Remedies Code Section 37.004(a) to determine the lawfulness and scope,




                                                                                     L.
  if any, of the receiverships involuntarily imposed in the Arbitration and in the Document




                                                                                  a
                                                                               lv
  Production Lawsuit.




                                                                          Ve
         57.     Similarly, the Super Majority seeks a declaratory judgment under the authority of




                                                                      k
  Texas Civil Practice and Remedies Code Section 37.004(a) to determine and define Milligan’s




                                                                  er
                                                              Cl
  authority, if any, to act as a receiver given his failure and the failure of Mitte, Lemmon, and

  Chester, to disclose his pre-existing conflicts and his failure to fulfill the applicable statutory
                                                          ct
                                                      tri
  requisites before he began taking action as a putative receiver.
                                                   is

         58.     The Super Majority also seeks a declaratory judgment under the authority of Texas
                                             .D



  Civil Practice and Remedies Code Section 37.004(a) to determine the validity of Judge Soifer’s
                                        Co




  post-dating the effective date of the District Court Receivership to permit the actions taken by
                                   is




  Milligan between December 10, 2019 (the date of the order requiring Mitte to post bond prior to
                               av




  the orders’ effectiveness) and January 7, 2020 (the date Mitte filed its required bond).
                           Tr




         59.     Finally, the Super Majority seeks a declaratory judgment as to its bargained for,
                      y




  contractual rights under the Limited Partnership Agreements, those of the Mitte Foundation,
                   op




  including but not limited to the limitations on the scope and authority of the receiver in light of the
           lc




  foregoing.
         ia
      fic




         60.     Attorney Fees. The Super Majority is entitled to recover reasonable and necessary
  of




  attorney’s fees that are equitable and just under Texas Civil Practice & Remedies Code Section
Un




  37.009 because this is a suit for declaratory relief.

                                                    20
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                                        70




                                                                                                e
                          COUNT 2 – BREACH OF FIDUCIARY DUTY




                                                                                             ic
                                                                                         Pr
         61.     The Super Majority incorporates the foregoing paragraphs as if fully set forth herein

  and states the following request for relief in the alternative.




                                                                                    L.
         62.     The Super Majority entered into the Limited Partnership Agreements in good faith




                                                                                 a
                                                                              lv
  with the Mitte Foundation under a contractual arrangement supported mutual by consideration.




                                                                         Ve
         63.     Assuming arguendo that the Arbitration Receivership and/or the District Court




                                                                      k
  Receivership were validly-created and that Defendant Milligan was lawfully appointed as receiver




                                                                    er
                                                               Cl
  in each or either proceeding, then he assumed the role of purported receiver, Defendant Milligan

  assumed a fiduciary duty requiring him to act in the best interest of the Partnerships and those
                                                          ct
                                                      tri
  holding an interest in the Partnerships. As such, a fiduciary relationship existed, and Milligan
                                                   is

  owed a fiduciary duty to the Super Majority Limited Partners.
                                             .D



         64.     Milligan breached that fiduciary duty by (i) holding himself out as having the ability
                                         Co




  to control the affairs of the Limited Partnerships; (ii) supporting a clandestine effort by Mitte to
                                    is




  purchase a loan securing one of the properties in order to manufacture a sham default and move
                               av




  precipitously to foreclose; (iii) conspiring to loot the Limited Partnerships of valuable assets; (iv)
                           Tr




  interfering with the Limited Partnerships’ other business relationships; and (v) otherwise
                      y




  encumbering the Limited Partnerships with unnecessary litigation, expenses, and other
                   op




  obligations, including this lawsuit.
           lc




         65.     Defendant Lemmon aided and abetted Defendant Milligan’s breaches of fiduciary
         ia
      fic




  duty outlined above.
  of
Un




                                                    21
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                                        70



            66.   As a direct and proximate cause of Milligan’s breach of his fiduciary duties, and




                                                                                               e
  Lemmon’s aiding and abetting thereof, the Super Majority has been significantly damaged in an




                                                                                            ic
                                                                                        Pr
  amount within the jurisdictional limits of the court, which exact amount will be determined at trial.




                                                                                    L.
                                    COUNT 3 – CONVERSION




                                                                                a
                                                                             lv
            67.   The Super Majority incorporates the foregoing paragraphs as if fully set forth




                                                                        Ve
  herein.




                                                                     k
            68.   Under the terms of the Limited Partnership Agreements and because they have




                                                                 er
                                                             Cl
  fulfilled all performance requirements, the Super Majority naturally owns its substantial interests

  in the Limited Partnerships and the assets of the Limited Partnerships. Milligan assumed and
                                                         ct
                                                      tri
  exercised dominion and control over the Super Majority’s property in an unlawful and
                                                 is

  unauthorized manner, to the exclusion of the Super Majority and inconsistent with the Super
                                            .D



  Majority’s rights. The Super Majority has made it clear that it vehemently opposes the liquidation
                                       Co




  plan and has demanded that Milligan respect its interest. Milligan, in collusion with the Mitte
                                   is




  Foundation, Lemmon, and Chester, and with their assistance, has refused to honor those demands
                              av




  and has refused return the Super Majority’s property so as to allow the Super Majority to exercise
                            Tr




  its contractual rights.
                      y




            69.   Thus, Milligan, with the knowing participation and/or at the insistence or
                   op




  instigation of the Mitte Foundation, Lemmon, and Chester, converted the Super Majority’s
           lc




  property and interests to his and their own use. As a consequence, the Super Majority Partners
         ia
      fic




  have incurred substantial damages.
  of




            70.   The Super Majority accordingly seeks damages within the jurisdictional limits of
Un




  the court in an amount to be determined at trial.

                                                   22
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                                        70




                                                                                                 e
                              COUNT 4 – BREACH OF CONTRACT




                                                                                              ic
                                                                                          Pr
         71.     The Super Majority incorporates by reference the foregoing paragraphs as if fully

  set forth herein in seeking relief assuming arguendo that that receiverships were properly created




                                                                                     L.
  and that Defendant Milligan was validly appointed as a receiver.




                                                                                  a
                                                                               lv
         72.     The Super Majority entered into the Limited Partnership Agreements with the Mitte




                                                                          Ve
  Foundation, supported by mutual consideration. The Super Majority has fully performed all of




                                                                      k
  their obligations under the Agreements. All conditions precedent under the Limited Partnership




                                                                  er
                                                              Cl
  Agreement necessary for the Super Majority to assert this claim have been met.

         73.     Milligan in his capacity as putative receiver or in the guise of a putative receiver,
                                                          ct
                                                      tri
  that is, purportedly standing in WC 1st and Trinity, LP’s shoes and WC 1st and Trinity, GP, LLC’s
                                                  is

  shoes, has breached the Agreements, including Sections 5.3 and 5.4(a)(ii) and (c) by squandering
                                             .D



  the assets of the Partnerships in pursuing frivolous litigation and in other acts of reckless spending.
                                        Co




  Those acts include but are not limited to (i) holding himself out as having the ability to control the
                                   is




  affairs of the Partnerships; (ii) supporting a clandestine effort by Mitte to purchase a loan securing
                               av




  one of the properties in order to manufacture a sham default and move precipitously to foreclose;
                           Tr




  (iii) conspiring to loot the Partnerships of valuable assets; (iv) interfering with the Partnerships’
                     y




  other business relationships; and (v) otherwise encumbering the Partnerships with unnecessary
                  op




  litigation, expenses, and other obligations.
           lc




         74.     All of these actions constitute actionable, material, breaches of the Limited
         ia
      fic




  Partnership Agreements, attributable to Milligan as purported receiver.
  of




         75.     As a direct and proximate cause of these breaches, aided and abetted by the Mitte
Un




  Foundation, Lemmon, and Chester, the Super Majority Partners have been seriously damaged in

                                                    23
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                                        70



  an amount within the jurisdictional limits of the court, the exact amount of which will be




                                                                                               e
  determined at trial.




                                                                                            ic
                                                                                        Pr
                  COUNT 5 – TORTIOUS INTERFERENCE WITH CONTRACT




                                                                                   L.
            76.   The Super Majority incorporates the foregoing paragraphs as if fully set forth




                                                                               a
                                                                            lv
  herein.




                                                                        Ve
            77.   The Super Majority entered into the Limited Partnership Agreements, forming a




                                                                    k
  binding contract supported by consideration, which was subject to interference and which was




                                                                 er
                                                             Cl
  necessarily susceptible to interference. Milligan, on his own behalf and at the instigation of the

  Foundation, Lemmon, and Chester willfully and intentionally interfered with that contract. That
                                                        ct
                                                    tri
  interference has proximately caused substantial damage to the Super Majority.
                                                  is

            78.   By pursuing frivolous litigation and incurring unjustifiable expenses that are being
                                            .D



  charged to the Limited Partnership, Milligan, the Foundation, Lemmon, and Chester are interfering
                                       Co




  with the rights and privileges of the Super Majority under the express terms of the Limited
                                   is




  Partnership Agreements.
                              av




            79.   The Super Majority accordingly seek damages within the jurisdictional limits of the
                           Tr




  court in an amount to be determined at trial.
                      y
                   op




                                 COUNT 7 – CIVIL CONSPIRACY
           lc




            80.   The Super Majority incorporates the foregoing paragraphs as if fully set forth
         ia
      fic




  herein.
  of




            81.   From the outset of the events described above, Milligan, the Foundation, Lemmon,
Un




  and Chester had a meeting of the minds on their object and course of action, which was to permit

                                                   24
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                                        70



  a fractional share of the Limited Partnerships to seize control the Limited Partnerships and to




                                                                                                e
  thwart the purposes of the Limited Partnership Agreements and attempt to effectuate a sale of the




                                                                                             ic
                                                                                         Pr
  Partnership and the Super Majority Partners’ property.

          82.    They have done this in order to enrich themselves.




                                                                                    L.
          83.    They have engaged in protracted and unnecessary litigation at the cost of the




                                                                                 a
                                                                              lv
  Limited Partnership, all the while substantially diluting the interests of the Super Majority Partners




                                                                         Ve
  and foiling the rights and privileges of the Super Majority under the Agreements.




                                                                      k
          84.    Milligan, in his capacity as putative receiver and in his individual capacity, has




                                                                  er
                                                              Cl
  taken multiple unlawful overt acts in furtherance of the civil conspiracy, including but not by any

  means limited to contacting lenders, banks, tenants, and other third parties in connection with
                                                         ct
                                                     tri
  efforts to sell the assets prematurely and ill-advisedly and by pursuing frivolous litigation.
                                                  is

  Milligan’s actions have proximately caused substantial damages to the Super Majority.
                                             .D



          85.    The Super Majority accordingly seek damages within the jurisdictional limits of the
                                       Co




  court in an amount to be determined at trial.
                                   is




                                           JURY DEMAND
                              av




          86.    The Super Majority demands a jury trial and tenders the appropriate fee with this
                          Tr




  petition.
                     y




                                    CONDITIONS PRECEDENT
                  op




          87.    All conditions precedent to the Super Majority’s claims for relief have been
           lc




  performed or have occurred.
         ia
      fic
  of
Un




                                                   25
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                                        70



                                   REQUEST FOR DISCLOSURE




                                                                                              e
         88.      Under Texas Rule of Civil Procedure 194, the Super Majority requests that all




                                                                                           ic
                                                                                       Pr
  defendants disclose, within 50 days of the service of this request, the information and material

  described in Rule 194.2 of the Texas Rules of Civil Procedure.




                                                                                   L.
                                                PRAYER




                                                                               a
                                                                            lv
         89.      For these reasons, the Super Majority asks that the Defendants be cited to appear




                                                                           Ve
  and answer and that the Court declare the Receiverships null and void.       In addition, the Super




                                                                      k
  Majority asks for the following damages:




                                                                  er
                                                              Cl
               a. Actual damages;

               b. Disgorgement of all fees;
                                                         ct
                                                      tri
               c. Pre-judgment and post-judgment interest;
                                                  is

               d. Court costs;
                                              .D



               e. Attorneys’ fees; and
                                         Co




               f. All other relief to which they may be justly entitled.
                                    is
                                 av




                                                         Respectfully submitted,
                           Tr




                                                         GREGOR WYNNE ARNEY, PLLC.
                      y
                   op




                                                         /s/ Michael J. Wynne
                                                         Michael J. Wynne
           lc




                                                         State Bar No. 00785289
                                                         909 Fannin, Ste. 3800
         ia




                                                         Houston, Texas 77010
      fic




                                                         Phone: 281.450.7403
                                                         Email: mwynne@gcfirm.com
  of




                                                         COUNSEL FOR THE SUPER
Un




                                                         MAJORITY LIMITED PARTNERS

                                                    26
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                                                             Filed in The District Pg 39 of
                                                                                   Court
  •                                     70                   . of Travis County, Texas

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                                                                            At         lf?,,,(     fl M.
                                    CAUSE NO. D-1-GN-18-007636
                                                                            Velva L. Price, District Clerk




                                                                                               e
    THE ROY F. & JOANN COLE MITTE                    §         IN THE DISTRICT COURT OF




                                                                                            ic
    FOUNDATION,                                      §




                                                                                          Pr
                                                     §
             Plaintiff,                              §




                                                                                     L.
                                                     §
    v.                                               §




                                                                                a
                                                     §           TRAVIS COUNTY, TEXAS




                                                                             lv
    WC 1ST AND TRINITY, LP,                          §
    WC 1ST AND TRINITY GP, LLC,                      §




                                                                         Ve
    WC 3RD AND CONGRESS, LP AND                      §
    WORLD CLASS CAPITAL GROUP, LLC                   §




                                                                     k
                                                     §          126TH JUDICIAL DISTRICT




                                                                  er
             Defendants.                             §




                                                              Cl
                                   AGREED PROTECTIVE ORDER

   The Parties Agree as follows:                         ct
                                                     tri
                                                  is
   1.        Within 5 business days Defendants shall produce to Plaintiff the records requested in
                                             .D


   Plaintiffs Original Petition and any other books and records of the WC 1st and Trinity LP and the

                                                                                                             ~
                                        Co




   WC 3rd and Congress, LPJl>-'        -.i1J bo; uliilolr 4@:l'loiR!iff """"' ;)Biele 8 llu 11•""~
  .J' gFR   RU!~                                                                                             ~ re--
                                                                                                             .
                                    is
                               av




   2.       The provisions of this Agreed Protective Order apply to information provided by
                           Tr




   Defendants that relates only to the books and records of WC 1st and Trinity LP and WC 3rd and
                      y




   Congress, LP.
                    op




   3.       Prior to production of any documents by Defendants to Plaintiff pursuant this Order,
                lc




   Defendants shall clearly mark as "CONFIDENTIAL" any documents that cannot be disseminated
            ia




   by Plaintiff to third-parties because they contain any confidential or proprietary information.
         fic




   4.       If Plaintiff disputes the designation of "Confidential" for any document produced under
  of
Un




   this Order, then Plaintiff will, within seven (7) days of the production, Defendants
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   remove/withdraw the designation. If Defendants refuse or do not respond within fifteen business




                                                                                               e
   days, the Plaintiff may move the Court for relief with notice to Defendants.




                                                                                            ic
                                                                                          Pr
   5.     The documents produced under this order with the designation of"Confidential" may only




                                                                                     L.
  be seen or reviewed by:




                                                                                 a
                 a.      Plaintiffs retained attorneys and those necessary personnel employed by or




                                                                              lv
                         in contractual relationship with Plaintiffs counsel;




                                                                           Ve
                 b.      Plaintiffs staff and Plaintiffs Board members; and




                                                                     k
                                                                  er
                 c.      professionals and consultants engaged by Plaintiff or Plaintiffs counsel to




                                                                 Cl
                         assist Plaintiff with in this matter.


                                                          ct
  Those parties described in Paragraph 5( c) shall, before being provided with copies of any such
                                                      tri
  documents, sign an agreement not to disclose the document so designated and/or the contents of
                                                   is

  those documents to any person not authorized to review such records under this Order and submit
                                             .D



  themselves to the jurisdiction of this Court for enforcement. Plaintiff shall maintain copies of all
                                       Co




  agreements for access that are signed but are not required to provide those to Defendants unless
                                   is




  ordered by the Court upon a showing of good cause.
                              av




  6.      Reference is made to the AAA Arbitration filed by Defendants against Plaintiff. Nothing
                            Tr




  in this particular order shall alter, amend or otherwise modify any order or stipulation in that
                    y
                  op




  matter, including the Arbitrator's rulings on confidentiality. Nor shall this agreement in any
              lc




  constitute a waiver of Defendants' rights or positions in that matter.
           ia




  7.      Further, the parties agree and understand that the District Court in this case and the
        fic




  Arbitrator empaneled in the AAA arbitration have jurisdiction over those respective matters and
  of




  the parties subject hereto, and a ruling by the District Court or the Arbitrator -or vice versa, as the
Un




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.•   20-10885-tmd Doc#14 Filed 08/11/20 Entered 08/11/20 13:34:56 Main Document Pg 41 of
       ,.                                    70



        case may be - has the appropriate impact/effect within that respective tribunal and the parties

                                                                                                    l




                                                                                                     e
        subject to the jurisdiction thereto.     .                   .                ~ ~-               ~




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       SIGNED AND ENTERED this                 ~(c\   day of     t-u\on.Jvi'"\ , 2019.             (?e_
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                                                          JUDGE PRESIDING




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20-10885-tmd Doc#14 Filed 08/11/20 Entered 08/11/20 13:34:56 Main Document Pg 42 of
                                        70

    From:                 Stephen Lemmon
    To:                   Chester, Ray; Gregory S. Milliaan
    Cc:                   Escobar Manuel; Rhonda Mates




                                                                                                                                  e
    Subject:              RE: World Class
    Date:                 Wednesday, September 4, 2019 10:00:16 AM




                                                                                                                              ic
                                                                                                                        Pr
    We are generally available this afternoon and tomorrow. My general thoughts re this:
       • I think there is no question that the arbitrator can create remedies, including a receivership




                                                                                                                  L.
        • My only concern is regarding the effect of the receivership on third parties, like the mortgage
          holder:




                                                                                                             a
                 0   The general doctrine of custodia leg is protects receivership property from acts by any




                                                                                                         lv
                     person or party without court approval.




                                                                                                  Ve
                 a   I am simply not sure whether that same protection applies if the receivership is
                     imposed by an arbitrator as opposed to a court.
        • Query: Would Tx Civ Prac and Rem. Code section 171.086(b) allow a parallel application in




                                                                                             k
          district court for appointment of a receiver? If so that would solve the potential problem.




                                                                                        er
                                                                                   Cl
   Stephen Lemmon

   STREUSAND I LANDON I OZBURN I LEMMON LLP

                                                                            ct
   Spyglass Point I 1801 South MoPac Expressway I Suite 320 I Austin, Texas 78746
                                                                       tri
   (d) (512) 220-2688 I (o) (512) 236-9900 I (f) (512) 236-9904
   lemmon@slollp.com      I www.slollp.com
                                                                  is

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                                                    Co




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   purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing, or recommending to another party
   any transaction or matter addressed herein.
                                        av




   From: Chester, Ray <rchester@mcginnislaw.com>
                                  Tr




   Sent: Wednesday, September 4, 2019 9:47 AM
   To: Gregory S. Milligan <gmilligan@harneypartners.com>
                              y




   Cc: Escobar, Manuel <mescobar@mcginnislaw.com>; Stephen Lemmon <Lemmon@slollp.com>;
                       op




   Rhonda Mates <Mates@slollp.com>
   Subject: Re: World Class
                 lc




   If you guys have time to get on a call this week to discuss this issue, please let me know. I can make
               ia




   myself available, and I think it would be productive.
      fic




   Sent from my iPad
   of
Un




   On Sep 4, 2019, at 9:43 AM, Gregory S. Milligan <gmilligan@harnevpartners.com> wrote:

            Manuel:

            Thanks for the summary.                I've also added Steve and Rhonda to this thread so
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                                                70

Rhonda Mates

From:                            Rhonda Mates




                                                                                                      e
Sent:                            Thursday, November 7, 2019 _12:05 PM




                                                                                                    ic
To:                              Ray Chester
Subject:                         Fwd: Receivership Statute -- Texas Business Organizations Code




                                                                                                  Pr
Attachments:                     Spiritas v Davidoff.doc; ATT00001.htm




                                                                                            L.
                                                                                         a
                                                                                     lv
                                                                                Ve
               The general receivership statute (Tex. Civ. Prac. & Rem. Code ch. 64}, which
               provides that the court may appoint a receiver when the applicant has a
               probable interest or right to the property and the property is in danger of being




                                                                             k
               lost, removed, or materially injured. TRCP § 64.00l(b). However, Tex. Bus. Org.




                                                                         er
               Code§ 11.401 provides~ "A receiver may be appointed for a domestic entity or




                                                                     Cl
               for a domestic entity's property or business onlyas provided for and ori the
               conditions set forth in this code." (emphasis added) The bases for which a


                                                                ct
               receiver can be appointed for a domestic entity under the TBOC are more strict
               those set forth under the general receivership statute.
                                                             tri
                                                         is
               Under the TBOC, a court may appoint a receiver (1) for specific property of a
               domestic entity located in Texas that is involved in litigation; (2) over the
                                                    .D


               property and business of a domestic entity for the purpose of rehabilitating the
               entity; or (3) to effect a liquidation of the property and business of a domestic
                                              Co




               entity. TBOC § 11.402. A receiver can only be appointed under (1) by a court
               that subject matter jurisdiction of the specific property. § 11.402(a). A receiver
               can only be appointed under (2) and (3) by a "district court in the county in
                                          is




               which the registered office or principal place of business of the domestic entity is
                                     av




               located." § 11.402(b).
                                 Tr




               Receiver for Specific Property TBOC § 11.403.
               A court with jurisdiction over specific property may appoint a receiver in an
                              y




               action "between partners or other jointly owning or interested in the property or
                         op




               fund." § 11.403{a)(3). It must be shown that (i) the property is in danger of being
               lost, removed, or materially injured, (ii) the court considers that appointment of
                     lc




               a receiver is necessary to "conserve the property or fund and avoid damage to
                  ia




               interested parties," (iii) all other requirement of law are complied with, and
               (iv)"the court determines that other available legal and equitable remedies are
             fic




               inadequate." § 11.403{b). This last requirement is the key difference between
               the TBOC and TRCP.
           of
      Un




               Receiver to Rehabilitate a Domestic Entity§ 11.404
               The district court in the county in which the entity has its registered office or
               principal place of business may appoint a receiver for the entity's property and
               business in an action by an owner or member of the entity if it is established (i)
               the entity is insolvent or in imminent danger of insolvency, (ii) the governing
                                                         1
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                                                    70
         person of the entity are deadlocked in the manag ement of the entity and
         irrepar able injury to the entity is being suffered or is threate ned becaus e of the
         deadlock, (iii) the actions of the governing person are illegal, oppr"essive, or
         fraudulent, or (iv) the proper ty of the entity is being misapplied or wasted. §
         11.404(a)(1). The court may appoin t a receiver under this section only if (i)




                                                                                                e
         circumstances exist that are considered by the court to necess itate the




                                                                                                ic
         appoin tment of receiver to conserve the proper ty and business of the entity




                                                                                               Pr
                                                                                            and
         avoid damag e to interes ted parties, {ii) all other require ments of law are
         complied with, and (iii) the court determines that all other available legal and




                                                                                           L.
          equitable remedies, including the appointment of a receiver for specific
          proper ty of the domestic entity under§ 11.402(a), are inadequate.




                                                                                           a
                                                                                       lv
         Receiver to Liquidate Domestic Entity § 11.405     _




                                                                                  Ve
         This provision. dqes not apply to the circumstances of this case so I wjll not
         addres s them h'1re.




                                                                              k
         TBbC provides that that "if the c~ndition necessitating the appoin tment of a




                                                                         er
         receiver is remedi ed, the receivership shall be te~~in ated immediate.ly...,; §§




                                                                     Cl
         11.403{d), J1.4d4(c). . .           , --           .   .    .      . .           ,


                                                                ct
                                                            tri
         Rhonda Mates
                                                       is

         STREUS AND I LANDO N I OZBURN I LEMMO N LLP
         Spyglass Point I 1801 South MoPac Expi'essway'I Suite 320 i Austin, Texas 78746
                                                   .D


         (d}(512}220-2689 l (o) (512) 236-9900 I (f) (512) 236-9904
         mates@slollp_.com   I: www.slol lp.com
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Un




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      20-10885-tmd Doc#14 Filed 08/11/20 Entered 08/11/20 13:34:56 Main Document Pg 45 of
                                              70

Stephen Lemmon

From:                                     Chester, Ray <rchester@mcginnislaw.com>
Sent




                                                                                                                                 e
                                          Thursday, October 10, 2019 11:17 AM
To:




                                                                                                                            ic
                                          Stephen Lemmon; Rhonda Mates
Subject:                                  WC




                                                                                                                       Pr
I'd like to shut this call down now and huddle privately for strategic reasons.




                                                                                                                 L.
Ray




                                                                                                             a
                                                                                                         lv
Ray Chester




                                                                                                   Ve
Board Certified Civil Trial Law and Personal Injury Trial Law
McGINNIS LOCHRIDGE
600 Congress Avenue, Suite 2100




                                                                                               k
Austin, TX 78701




                                                                                          er
o 512-495-605 1 f 512-505-635 1




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MCGINNIS LOCHRIDGE:=.::.,,.,...,_
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                                        70

   From:                  Stephen Lemmon
   To:                    Chester. Ray: Shaunessy. Michael A.
   Cc:                    Gregory S. Milligan; Rhonda Mates
   Subject:




                                                                                                                                    e
                          RE: World Class Order
   Date:                  Friday, October 11, 2019 10:19:20 AM




                                                                                                                                ic
   Attachments:           imaae008.png




                                                                                                                          Pr
   OK.




                                                                                                                   L.
   Stephen Lemmon




                                                                                                               a
   STREUSA.J.'ID I LANDON I OZBURN I LEl.vll\tION LLP




                                                                                                          lv
   Spyglass Point I 1801 South MoPac Expressway I Suite 320 I Austin, Texas 78746
   (d) (512) 220-2688 I (o) (512) 236-9900 I (f) (512) 236-9904




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                                                                        tri
                                                                    is
   From: Chester, Ray <rchester@mcginnislaw.com>
   Sent: Friday, October 11, 2019 10:15 AM
                                                             .D


   To: Stephen Lemmon <Lemmon@slollp.com>; Shaunessy, Michael A.
   <MShaunessy@mcginnislaw.com>
                                                     Co




   Cc: 'Greg Milligan' <gmilligan@harneypartners.com>; Rhonda Mates <Mates@slollp.com>
   Subject: RE: World Class Order
                                               is




   Steve,
                                         av
                                    Tr




   We just crossed emails with the current draft. But it's not too late to make changes.
                               y




   I understand and agree with the sentiment behind both of these changes. However, I am extremely
                        op




   reluctant to suggest substantive chances that were not agreed on yesterday because obviously that
   will open the door to Roossien re-arguing everything. l don't want that. l wish you had raised these
                  lc




   on the phone with Covington yesterday.
              ia




   On the first change, I like it and understand the need, but how would we square that with the
       fic




   current language and intent of Paragraph 40 which was specifically approved by Covington
   yesterday? I am open to specific suggestions on drafting.
   of




  On the second change, l think this would be wise on your part, but this has got to come from you. l
Un




  suggest that I submit the language in the current draft because that is consistent with what she said
  yesterday, but either you or I on your behalf also gently suggest your alternative language.
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                                        70

   Ray Chester
   Board Certified Civil Trial Law and Personal Injury Trial Law
   McGINNIS LOCHRIDGE
   600 Congress Avenue, Suite 2100




                                                                                                                                 e
   Austin, TX 78701




                                                                                                                             ic
   o 512-495-6051 f 512-505-6351




                                                                                                                       Pr
                                                                                                                 L.
                                                                                                            a
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   From: Stephen Lemmon [mailto:Lemmon@slol!p.com]




                                                                                             k
                                                                                        er
   Sent: Friday, October 11, 2019 10:03 AM
   To: Chester, Ray <rchester@mcginnislaw.com>; Shaunessy, Michael A.




                                                                                  Cl
   <MShaunessy@mcginnislaw.com>
   Cc: 'Greg Milligan' <gmilligan@harneypartners.com>; Rhonda Mates <Mates@slollp.com>
   Subject: FW: World Class Order
                                                                            ct
                                                                       tri
   Ray: Please see below. Can we include the language I highlighted and also:
                                                                  is
                                                           .D


             This order is deemed effective as of the time the Arbitrator's ruling was announced at a
             hearing held Friday, October 4, 2019.
                                                    Co




   Stephen Lemmon
                                              is




   STREUSAND I LANDON I OZBURN I LEMMON LLP
   Spyglass Point I 1801 South MoPac Expressway I Suite 320 I Austin, Texas 78746
                                        av




   (d) (512) 220-2688 I (o) (512) 236-9900 I (f) (512) 236-9904
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   any transaction or matter addressed herein.
       fic




   From: Gregory S. Milligan <gmilligan@harneypartners.com>
   Sent: Friday, October 11, 2019 9:59 AM
   of




   To: Stephen Lemmon <Lemmon@slo!lo.com>; Rhonda Mates <Mates@slollp.com>
Un




   Subject: RE: World Class Order

   I like that. I think we have cover with Covington for not fully arguing this on the call
   yesterday because Roossien filed numerous specific objections to the proposed order, but
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                                        70

   he didn't raise the comp issue. Unfair surprise.

   I fully expect WC to try and pay me as little (or nothing) later as possible, so I want to get
   as much in this order as possible to protect against that eventuality.




                                                                                                                                    e
                                                                                                                               ic
   Thanks,




                                                                                                                         Pr
   Gregory S. Milligan, CTP
   Executive Vice President




                                                                                                                   L.
   Cell: (512) 626-1818




                                                                                                              a
                        H.ARNEY




                                                                                                          lv
                        PARTNERS




                                                                                                   Ve
   Austin      Chicago        Dallas      Houston         Madison




                                                                                               k
                                                                                         er
   From: Stephen Lemmon <Lemmon@slollo.com>
   Sent: Friday, October 11, 2019 9:47 AM




                                                                                    Cl
   To: Gregory S. Milligan <gmil!igan@harneypartners.com>; Rhonda Mates <Mates@slollp.com>
   Subject: RE: World Class Order

                                                                              ct
                                                                        tri
   Greg: There is no "standard" that I know of for compensation disputes in a receivership. I have
   always seen the courts stick by the terms of their orders, absent some really strange development-
                                                                    is

   like a defalcation.
                                                             .D


   I would suggest we try to draft in something like:
                                                     Co




             The commission compensation to the Receiver will be awarded as set forth herein absent
             some showing of defalcation, gross negligence, or abuse of the receivership estate by the
             Receiver.
                                               is
                                         av




   This might have the advantage of smoking out World Class in case they intend to just screw with you
   over the fees.
                                    Tr




   Stephen Lemmon
                               y
                        op




   STREUSA.J.'ID I LANDON I OZBURN I LEl\-fMON LLP
   Spyglass Point I 1801 South MoPac Expressway I Suite 320 I Austin, Texas 78746
   (d) (512) 220-2688 I (o) (512) 236-9900 I (f) (512) 236-9904
                  lc




   lemmon@slolip.com      I www.slollp.com
              ia




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   of




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   purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing, or recommending to another party
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   From: Gregory S. Milligan <gmilligan@harnevpartners.com>
20-10885-tmd Doc#14 Filed 08/11/20 Entered 08/11/20 13:34:56 Main Document Pg 49 of
                                        70

             Cc: Rhonda Mates <i\llates(a)slollo.com>
             Subject: RE: draft order appointing receiver




                                                                                                        e
            Thanks. Let's see what happens at the 9:00a hearing tomorrow,




                                                                                                        ic
            then if we're still a go for Friday, I'll take a granular pass on the




                                                                                                    Pr
            draft order. The form of SEC order has some onerous/restrictive
            provisions on the Receiver that I don't want to offer up in this
            matter.




                                                                                                   L.
             Thanks,




                                                                                               a
             Gregory S. Milligan, CTP




                                                                                           lv
             Executive Vice President




                                                                                    Ve
             Cell: (512) 626-1818

            <image00S.png>




                                                                                k
            Austin      Chicago       Dallas     Houston       Madison




                                                                            er
                                                                       Cl
             From: Stephen Lemmon <Lemmon@slollo.com>
            Sent: Monday, September 9, 2019 2:02 PM


                                                                 ct
            To: Chester, Ray <rchester@mcginnislaw.com>
            Cc: Gregory S. Milligan <gmilligan@harneypartners.com>; Rhonda Mates
                                                            tri
            <Mates@slollp.com>
                                                        is

            Subject: Re: draft order appointing receiver
                                                 .D


            Ok. Thanks.
                                           Co




            Sent from my iPhone
                                     is




            On Sep 9, 2019, at 1:43 PM, Chester, Ray <rchester@mcginnislaw.com>
            wrote:
                                av




                     The other side's lawyers are withdrawing. Naturally, they
                           Tr




                     want to stay all proceedings for 3 weeks including the
                     receivership hearing. There's a hearing on that tomorrow at
                      y




                     9 . I'll call you guys after that.
                op
            lc




                     Ray Chester
                     Board Certified Civil Trial Law and Personal Injury Trial
         ia




                     Law
                     McGINNIS LOCHRIDGE
     fic




                     600 Congress Avenue, Suite 2100
                     Austin, TX 78701
   of




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                                         70




                                                                                                                                                              e
                                                                                                                                                        ic
                                                                                                                                               Pr
  WC 1st and Trinity, LP; WC 1st and Trinity, GP,




                                                                                                                                      L.
  LLC; WC 3rd and Congress, LP; and WC 3rd and
  Congress GP, LLC                                               American Arbitration Association




                                                                                                                               a
                  Claimants,                                     Case No.: 01-19-0000-5347




                                                                                                                        lv
          -against-




                                                                                                              Ve
  The Roy F. & Joann Cole Mitte Foundation

                  Respondent.




                                                                                                       k
                                                                                                er
                                                                                          Cl
              (PROPOSED) ORDER APPOINTING TEMPORARY RECEIVER

        WHEREAS this matter has come before this 'Arbitration Tribunal, upon Resp.C>r1qc:i:it)\,1ittc:./ _/[ Commented [HK1J: (RCC) Change this to ~Arbitrator"

Foundation's Motion for a Temporary Restraining Order Freezing Assets, Appointing a
                                                                                   ct
                                                                              tri
Temporary Receiver, and Granting Other Emergency Relief[is this the correct name of the motion
                                                                         is

or should it be First Amended Motion to Appoint Receiver?]; ..                     - ~ - - - - - - - - - - - - - - { Commented [HK2]: (RCC) The latter.
                                                                 .D


        WHEREAS Claimants WC 1st and Trinity, LP and WC 3rd and Trinity, LP (the
                                                          Co




"Partnership Claimants") possess significant assets-jthe full nature and extent of which are not

currently known to this Arbitration Tribunar,     aricI.. the: yalue C>f wllich sholl]g bt': preseryecI. d~Ilg                Commented [SMA3]: I would delete this as we do know the
                                                                                                                              assets
                                                   is




the pendency of this litigation;
                                             av




        WHEREAS this Arbitration Tribunal finds that, based on the record in these proceedings,
                                        Tr




the appointment of a receiver in this action is necessary and appropriate for the purposes of

marshaling and preserving all assets of the Partnership Claimants, and the affiliate entities of
                                   y
                             op




Partnership Claimants [what does this mean? Talking about the GP entities? If so, should say:

" ... the Partnership Claimants and WC !st and Trinity GP, LLC and WC 3rd and Congress GP,
                       lc




LLC (the "GP Claimants")], as described below;                                                                     . ___ ~--{ Commented [HK4]: (RCC) Agree
                  ia




        WHEREAS this Arbitration Tribunal has subject matter jurisdiction over this action and
            fic




personal jurisdiction over the Parties;·-·                                                     .............................. ______ ] Commented [SMA5J: Not sure its significant but by parties are
                                                                                                                                       we saying Mitte as weU as GP Claimants and Partnership Claimants:
                                                                                                                                       We have not defined the tenn ""'Parties"' and that is concerning.
       of




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           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED




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THAT:




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           1.    This Arbitration Tribunal hereby takes exclusive jurisdiction and possession of the




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 assets, of whatever kind and wherever situated, of the Partnership Claimants and GP Claimants




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 (collectively, the "Receivership Parties").




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           2.    Until further Order of this Arbitration Tribunal, Gregory S. Milligan, of the firm




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HMP Advisory Holdings, LLC, dba Hamey Partners, is hereby appointed to serve without bond




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as the Arbitrator's appointment receiver (the "Receiver") for the estates of the Receivership

Parties.

                                      I.         Asset Freeze                 ct
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           3.    Except as otherwise specified herein, all assets of Receivership Parties
                                                                    is

("Receivership Assets") are frozen and may not be conveyed, transferred or in anv wav
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hypothecated until further order of this Arbitration Tribunal. "Receivership Assets" means assets
                                                         Co




of any and every kind whatsoever, including without limitation all assets described in this Order,

that are: (a) owned, controlled, or held, in whole or in part, by or for the benefit of any of the
                                                   is




Receivership Parties; (b) in the actual or constructive possession of any of the Receivership
                                              av




Parties, or other individual or entity acting in concert with or behalf of any of the Receivership
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Parties; (c) held by an agent of any of the Receivership Parties, including as a retainer for the

agent's provision of services; or (d) owned, controlled, or held, in whole or in part, by, or in the
                                  y
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actual or constructive possession of, or otherwise held for the benefit of, any corporation,

partnership, trust, or other entity directly or indirectly owned, controlled, or held, in whole or in
                      lc




part, by any of the Receivership Parties, including assets that have been transferred to other
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persons or entities but as to which assets such persons or entities do not have a legitimate claim.
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Accordingly, all persons, institutions, and entities with direct or indirect control over any
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 Receivership Assets- other than the Receiver or law enforcement officials acting within the




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 course and scope of their official duties-are hereby restrained and enjoined from directly or




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 indirectly transferring, setting off, receiving, changing, selling, pledging, assigning, liquidating




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 or otherwise disposing of or withdrawing such Receivership Assets. This freeze shall include,




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 but not be limited to, Receivership Assets that are on deposit with financial institutions such as




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 banks, brokerage firms, and mutual funds, or other institutions.




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                      II.        General Powers and Duties of Receiver




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       4.      Except as limited herein, the Receiver shall have all powers, authorities, rights, and

 privileges heretofore possessed by the officers, directors, managers, and general and limited

                                                                              ct
partners of the Receivership Parties under applicable state and federal law, by the governing
                                                                        tri
charters, by-laws, articles and/or agreements in addition to all powers and authority of a receiver
                                                                    is

at equity, and all powers conferred upon a receiver by the provisions of the Texas or Federal Rules
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of Civil Procedure, and this Order.
                                                      Co




       5.      The trustees, directors, officers, managers, investment advisors, accountants,

attorneys, and other agents of the Receivership Parties are hereby removed and dismissed; and all
                                                 is




the-powers of any partners, directors, officers. and/or managers are hereby suspended. Such
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persons and entities shall have no authority with respect to the Receivership Parties' operations
                                       Tr




or assets, except to the extent as hereafter may be expressly granted by the Receiver.

       6.      The Receiver shall assume and control the operation of the Receivership Parties
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and shall preserve all of their claims or interests using the powers set forth in this Order. The

Receiver shall have the power to bring suits in law or in equity without further Order of this
                     lc




Arbitration Tribunal. The Receiver may continue and conduct the business ofthe Receivership
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Parties in such manner, to such extent and for such duration as the Receiver may deem to be
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necessary or appropriate, if at all.
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       7.      No personholding or claiming any position of any sort with any of the Receivership




                                                                                                            L.
 Parties shall possess any authority to act by or on behalf of any of the Receivership Parties, unless




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 expressly authorized, in writing, by the Receiver.




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       8.      Subject to the specific provisions in Sections III through XIII, below, the Receiver




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 shall have the following general powers and duties:




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               A. To use reasonable efforts to determine the nature, location, and value of all
                  property interests of the Receivership Parties, including, but not limited to,




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                  monies, funds, securities, credits, investments, savings, options, shares, cash,
                  currencies, checks, accounts, vehicles, boats, equipment, fixtures, effects,




                                                                                     Cl
                  goods, chattels, lands, premises, leases, claims, notes, membership interests in
                  any limited liability company, partnership interests, contracts, certificates of
                  title, instruments, inheritances, interests in any trust, art, collectibles,

                                                                               ct
                  furnishings, jewelry, personal effects, digital currencies, virtual currencies,
                  cryptocurrencies, digitial or electronic property, casino accounts, deposits, or
                                                                          tri
                  chips, rights, and other assets, together with all rents, profits, dividends, interest
                  or other income attributable thereto, of whatever kind, which the Receivership
                                                                     is

                  Parties own, possess, have a beneficial interest in, or control directly or
                  indirectly (the foregoing, together with all assets described in this Order
                                                              .D


                  collectively may be referred to as the "Receivership Assets"· or the
                  "Receivership Estates");
                                                       Co




               B. To take custody, control, and possession of all Receivership Assets and records
                  relevant thereto from the Receivership Parties;
                                                 is




               C. To manage, control, operate, and maintain the Receivership Estate and hold in
                  his possession, custody, and control all Receivership Assets, pending further
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                  Order of this Arbitration Tribunal;

               D. To use Receivership Assets for the benefit of the Receivership Estate, making
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                  payments and disbursements and incurring expenses as may be necessary or
                  advisable in the ordinary course of business in discharging his duties as
                  Receiver;
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               E. To take any action that, prior to the entry of this Order, could have been taken
                  by the officers, directors, partners, managers, trustees, and agents of the
                  Receivership Parties, except as limited by this Order;
                     lc




               F. To engage and employ persons in his discretion to assist him in carrying out his
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                  duties and responsibilities hereunder, including, but not limited to, accountants,
                  attorneys, securities traders, registered representatives, financial or business
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                  advisers, liquidating agents, real estate agents, forensic experts, brokers,
                  traders, or auctioneers;
     of




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               G. To take such action as necessary and appropriate for the preservation of
                  Receivership Assets or to prevent the dissipation or concealment of
                  Receivership Assets;




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               H. To the extent necessary to locate and identify assets, the Receiver is authorized
                  to issue subpoenas for documents and testimony consistent with the Texas or




                                                                                                       Ve
                  Federal Rules of Civil Procedure;

               I. :To resist and defend all suits, actions, claims and demands which may now be




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                  pending or which may be brought by or asserted against the Receivership
                  Estate; arid,_




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                                                                                                __. -• · 4 Commented [SMA6]: Perhaps its elsewhere but the Receiver
                                                                                                          ··      should have the right to bring suits and/or initiate arbitrations as
                                                                                                                  necessary to carry out his responsibilities.
               J. To take such other action as may be approved by this Arbitration Tribunal.




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       9.      Unless otherwise limited by this Order, the Receiver is authorized to exercise all

equitable powers under applicable law.
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       10.     The Receiver may delegate to his agents any of the powers of the Receiver granted
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to him by this Order.
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       11.     The Receiver may seek further Orders of this Arbitration Tribunal regarding

standing powers of the Receiver, operations of Receivership Parties, and administration of
                                                        Co




Receivership Assets as may be deemed necessary to conserve the Receivership Assets, secure the
                                                  is




best interests of creditors, investors, and other stakeholders of the Receivership Parties, and
                                            av




protect the interests of the Receiver.

                               III.        Access to Information
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       12.     The past and/or present officers, directors, agents, managers, general and limited
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partners, trustees, attorneys, accountants, and employees of the Receivership Parties, as well as
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those acting in their place, are hereby enioined. ordered and directed to preserve and tum over to
                     lc




the Receiver forthwith all paper and electronic information of, and/or relating to, the Receivership
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Parties and/or all Receivership Assets; such information shall include but not be limited to books,
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records, documents, accounts, all financial and accounting records, balance sheets, income
     of




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 statements, bank records (including monthly statements, canceled checks, records of wire




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 transfers, details of items deposited, and check registers), investor lists, title documents, writings,




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 drawings, graphs, charts, photographs, audio and video recordings, computer records, computer




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 files, databases and other data compilations, including any information stored by third parties or




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 using cloud-based services, access codes, security codes, passwords, safe deposit keys,




                                                                                                k
 combinations, and all other instruments, papers, and electronic data or records of any kind or




                                                                                           er
 nature.




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        13.     Within five (5) days of the entry of this Order, the Receivership Parties shall file

 with the Arbitration Tribunal and serve upon the Receiver a sworn statement, listing: (a) tlle

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                                                                                                               __ _- Commented [SMA7]: This does not make sense to me. The
                                                                                                           -        Receivership Parties are defined as the Partnership Claimants and
                                                                                                                    GP Claimants (see para I above) and the Receiver has been
 identity, location and estimated value of all Receivership Assets, including contact information
                                                                          tri
                                                                                                                    appointed to control them (see para 2 above). How can the
                                                                                                                    Receiverhsip Parties file anything llllless the Receiver does it for
                                                                                                                    them-because they are in receivership. Moreover if the Receiver is
 for the party in possession of all assets of such Receivership Party, held jointly or singly, including            going to do this then shouldn~t the Receiver be directed to file it?
                                                                      is

without limitation all assets held outside the territory of the United States; (b) all employees (and
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job titles thereof), other personnel, attorneys, accountants, and any other agents or contractors of
                                                        Co




the Receivership Parties; and (c) the amount and nature of all liabilities of such Receivership

Party, including without limitation the names, addresses, and amounts of claims of all known
                                                  is




creditors of the Receivership Parties. Such sworn statement shall include the names, addresses,
                                            av




telephone numbers, facsimile numbers, and e-mail addresses of the holders of any legal, equitable,
                                       Tr




or beneficial interests in such assets and the names, addresses, telephone numbers, facsimile

numbers, and e-mail addresses of any financial institutions or other persons or entities holding
                                  y
                            op




such assets, along with the account numbers and balances. The sworn statements shall be accurate

as of the date of this Order, shall be signed and verified as true and complete under penalty of
                      lc




perjury.
                 ia




        14.    Within thirty (30) days of the entry of this Order, ):he Receivership Parties shall file
              fic




with the Arb.itration Tribunal and serve upon the Receiver a sworn statement and accounting, with .. __ /-f         Commented [SMAS]: Same issue as with para 13 a
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 complete documentation, covering the period from date of formation of the Receivership Parties




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 to the present:




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               A. Of all Receivership Assets, wherever located, held by or in the name of the




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                  Receivership Parties, or in which any of them, directly or indirectly, has or had
                  any beneficial interest, or over which any of them maintained or maintains




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                  and/or exercised or exercises control, including, but not limited to: (a) all
                  securities, investments, funds, real estate, automobiles, jewelry, digital assets,
                  including but not limited to any assets contained in digital assets held at crypto-




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                  curency exchanges, and other assets, stating the location of each; and (b) any
                  and all accounts, including all funds held in such accounts, with any bank,




                                                                                         er
                  brokerage, or other financial institution, or any other institution, including but
                  not limited to casinos, held by, in the name of, or for the benefit of any of them,




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                  directly or indirectly, or over which any of them maintained or maintains and/or
                  exercised or exercises any direct or indirect control, or in which any of them
                  had or has a direct or indirect beneficial interest, including the account

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                  statements from each bank, brokerage, or other financial institution;
                                                                        tri
               B. Identifying every account at every bank, brokerage, or other financial
                  institution: (a) over which Receivership Parties have signatory authority; and
                                                                    is

                  (b) opened by, in the name of, or for the benefit of, or used by, the Receivership
                  Parties;
                                                             .D


               C. Identifying all credit, bank, charge, debit or other deferred payment card issued
                  to or used by each Receivership Parties, including but not limited to the issuing
                                                      Co




                  institution, the card or account number(s), all persons or entities to which a card
                  was issued and/or with authority to use a card, the balance of each account
                  and/or card as of the most recent billing statement, and all statements for the
                  last twelve months;
                                                is
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               D. Of all assets received by any of Receivership Parties from any person or entity,
                  including the value, location, and disposition of any assets so received;
                                     Tr




               E. Of all funds received by the Receivership Parties, and each of them, in any way
                  related, directly or indirectly, to the Partnership Claimants. The submission
                  must clearly identify, among other things, all investors, lenders or partners, the
                                 y




                  interests they purchased or Joans made, the date and amount of their investments
                            op




                  or Joans, and the current location of such funds;

               F. Of all expenditures exceeding $1,000 made by any of Receivership Parties,
                     lc




                  including those made on their behalf by any person or entity in the preceding
                  12 month period; and
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               G. Of all transfers of assets made by any of Receivership Parties.
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         15.     Within five (5) days of the entry of this Order, the Receivership Parties shall




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 provide to the Receiver copies of the Receivership Parties' .fe:dt:r9:l___iI1c:Q1J:1t:_ t,1)( r.etl!J.!l~..Jrom _____ -- ·   Commented [SMA9]: Same question as para 13 above.




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 formation through 2018 with all relevant and necessary underlying documentation.




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         16.     The Receivership Parties' past and/or present officers, directors, agents, attorneys,




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 managers, shareholders, employees, accountants, debtors, creditors, managers and general and




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 limited partners, and other appropriate persons or entities shall answer all questions which the




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 Receiver may put to them and produce all documents as required by the Receiver regarding the




                                                                                               Cl
business of the Receivership Parties, or any other matter relevant to the operation or

 administration of the receivership or the collection of funds due to the Receivership Parties. The

                                                                                        ct
Receiver holds maintains and controls the attorney-client privilege and all other privileged of and
                                                                                  tri
for all Receivership Parties. and no information my be withheld from the Receiver on the basis
                                                                             is

that the infonnation or communication was a priviledge communication of or to the Receivership
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Entities. The Receiver has the exclusive right to detem1ine if. when and under what circumstances
                                                              Co




to waive anv piivli]ege of any Receivership Entity.

        17.      The Receivership Parties and the persons or entities listed in the preceding
                                                       is




paragraph are required to assist the Receiver in fulfilling his duties and obligations. As such, they
                                                 av




must respond promptly and truthfully to all requests for information and documents from the
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Receiver. This cooperation and assistance shall include, but not be limited to: (a) providing any

information or documents that the Receiver deems necessary or appropriate to the exercise of the
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                              op




Receiver's authority and the discharge of the Receiver's responsibilities under this Order; (b)

providing any keys, including but not limited to physical, digital, and cryptographic keys, codes,
                        lc




device PINs, and passwords, including but not limited to account, encryption, email account, and
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computer passwords required to access any computer, electronic file, or telephonic data in any
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medium; (c) immediately advising all persons who owe money or currency of any kind to the
      of




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 Receivership Parties that all debts should be paid directly to the Receiver; (d) providing full access.




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 to all Receivership Assets; and (e) maintaining and not wasting, damaging, disposing of, or




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 transferring in any manner any Receivership Assets.




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                     IV.         Access to Books, Records and Accounts




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        18.    The Receiver is authorized to take immediate possession of all assets, bank




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 accounts or other financial accounts, books, and records and all other documents or instruments




                                                                                           er
 relating to the Receivership Parties.      All persons and entities having control, custody, or




                                                                                      Cl
 possession of any Receivership Assets, including any financial institutions, are hereby directed

 to turn such property, including but not limited to all accounts, over to the Receiver.

        19.                                                                    ct
               The Receivership Parties, as well as their agents, servants, employees, attorneys,
                                                                          tri
 any persons acting for or on behalf of the Receivership Parties,. and any persons receiving notice
                                                                      is

 of this Order by personal service, facsimile transmission, or otherwise, having possession of the
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 property, business, books, records, accounts, or assets of the Receivership Parties are hereby
                                                        Co




 directed to deliver the same to the Receiver, his agents, and/or employees.

       20.     All banks, brokerage firms, financial institutions, and other persons or entities
                                                  is




 which have possession, custody, or control of any assets or funds held by, in the name of, or for
                                            av




the benefit of, directly or indirectly, the Receivership Parties that receive actual notice of this
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 Order by personal service, facsimile transmission, or otherwise shall:

               A. Not liquidate, transfer, sell, convey, or otherwise transfer any assets, securities,
                                  y




                  funds, or accounts in the name of or for the benefit of the Receivership Parties
                             op




                  except upon instructions from the Receiver;

               B. Not exercise any form of set-off, alleged set-off, lien, or any form of self-help
                     lc




                  whatsoever, or refuse to transfer any funds or assets to the Receiver's control
                  without the permission of this Arbitration Tribunal;
                 ia




               C. Within five (5) business days ofreceipt of that notice, file with this Arbitration
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                  Tribunal and serve on the Receiver and his counsel a certified statement setting
                  forth, with respect to each such account or other asset, the balance in the account
      of




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                    or description of the assets as of the close of business on the date of receipt of




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                    the notice; and,

                D. Cooperate expeditiously in providing information and transferring funds,




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                   assets, and accounts to the Receiver or at the direction of the Receiver.




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                       V.         Access to Real and Personal Property




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       21.      The Receiver is authorized but not directed to take immediate possession of all




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personal property of the Receivership Parties, wherever located, including but not limited to




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electronically stored information, computers, laptops, hard drives, external storage drives, and




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any other such memory, media or electronic storage devices, books, papers, data processing

records, evidence of indebtedness, bank records and accounts, savings records and accounts,

                                                                              ct
brokerage records and accounts, certificates of deposit, stocks, bonds, debentures, and other
                                                                         tri
securities and investments, contracts, mortgages, furniture, office supplies, and equipment.
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      22.       The Receiver is authorized but not directed to take immediate possession of all real
                                                              .D


property of the Receivership Parties, wherever located, including but not limited to all ownership
                                                       Co




and leasehold interests and fixtures. Upon receiving actual notice of this Order by personal

service, facsimile transmission, or otherwise, all persons other than law enforcement officials
                                                 is




acting within the course and scope of their official duties, are (without the express written
                                           av




permission of the Receiver) prohibited from: (a) entering such premises; (b) removing anything
                                      Tr




from such premises; or, (c) destroying, concealing, or erasing anything on such premises.

      23.       In order to execute the express and implied terms of this Order, the Receiver is
                                  y
                            op




authorized to change door Jocks to any premises. The Receivership Parties, or any other person

acting or purporting to act on their behalf, are ordered not to change the Jocks in any manner, nor
                      lc




to have duplicate keys made, nor shall they have keys in their possession during the term of the
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receivership.
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          24.    The Receiver is authorized to open all mail, other than mail directed to the




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 Receivership Parties or their general partners, and to inspect all mail opened prior to the entry of




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 this Order, to determine whether items or information therein fall within the mandates of this




                                                                                                           lv
 Order.




                                                                                                     Ve
          25.    The Receiver is authorized to request similar assistance from any other federal,




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 state, county, or civil law enforcement officer(s) or constable(s) of any jurisdiction.




                                                                                            er
                                VI.        Notice to Third Parties




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          26.    The Receiver shall promptly give notice of his appointment to all known officers,

 directors, agents, employees, shareholders, creditors, debtors, managers, and general and limited

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partners of the Receivership Parties, as the Receiver deems necessary or advisable to effectuate
                                                                           tri
the operation of the receivership.
                                                                      is

       27.       All persons and entities owing any obligation, debt, or distribution with respect to
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an ownership interest to any Receivership Party shall, until further ordered by this arbitration, pay
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all such obligations in accordance with the terms thereof to the Receiver, and its receipt for such

payments shall have the same force and effect as if the Receivership Defendant had received such
                                                  is




payment.
                                            av




       28.       In furtherance of his responsibilities in this matter, the Receiver is authorized to
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communicate with, and/or serve this Order upon, any person, entity, or government office that he

deems appropriate to inform them of the status of this matter and/or the financial condition of the
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Receivership Estate. All government offices which maintain public files of security interests in

real and personal property shall, consistent with such office's applicable procedures, record this
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Order upon the request of the Receiver.
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       29.      The Receiver is authorized to instruct the United States Postmaster to hold and/ or
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reroute mail which is related, directly or indirectly, to the business, operations, or activities of any
      of




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 of the Receivership Parties (the "Receiver's Mail"), including all mail addressed to, or for the




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 benefit of, the Receivership Parties. The Postmaster shall not comply with, and shall immediately




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 report to the Receiver, any change of address or other instruction given by anyone other than the




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 Receiver concerning the Receiver's Mail. The Receivership Parties shail not open any of the




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 Receiver's Mail and shall immediately turn over such mail, regardless of when received, to the




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 Receiver. The foregoing instructions shall apply to any proprietor, whether individual or entity,




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 of any private mail box, depository, business or service, or mail courier or delivery service, hired,




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 rented, or used by the Receivership Parties. No one other than Receiver shall open a new mailbox

 regarding the Receivership Parties, or take any steps or make any arrangements to receive mail

                                                                               ct
 in contravention of this Order, whether through the U.S. mail, a private mail depository, or courier
                                                                          tri
 service.
                                                                     is

       30.     Subject to payment for services provided, any entity furnishing any utilities or
                                                              .D


related services to the Receivership Parties shall maintain such service and transfer any such
                                                       Co




accounts to the Receiver unless instructed to the contrary by the Receiver.

                VII.         Injunction Against Interference with Receiver __                             Commented [RM10J: I think we should include this because if
                                                                                                          it is not part of this Order, the state court will have to enter a
                                                  is




                                                                                                          separate order making it applicable to third parties. We want the
       31.     The Receivership Parties and all persons receiving notice of this Order by personal        state court to just confirm this Order in its entirety. See para 33.
                                            av




                                                                                                          Commented [GM11]: Per Ray's suggestion, do we only make
service, facsimile, or otherwise, are hereby restrained and enjoined from directly or indirectly          this applicable to World Class in this order and not third parties for
                                                                                                          now? Then we have this order confirmed by the District Court to
                                                                                                          make it enforceable against third parties with these same provisions!
                                      Tr




taking any action or causing any action to be taken, without the express written agreement of the        ·r Commented [HK12]: (RCC) Agree with Rhonda.
Receiver, which would:
                                  y
                            op




               A. Interfere with the Receiver's efforts to take control, possession, or management
                  of any Receivership Assets; such prohibited actions include but are not limited
                  to, using self-help or executing or issuing or causing the execution or issuance
                       lc




                  of any court attachment, subpoena, replevin, execution, or other process for the
                  purpose of impounding or taking possession of or interfering with or creating
                  or enforcing a lien upon any Receivership Assets;
                 ia
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              B. Hinder, obstruct or otherwise interfere with the Receiver in the performance of




                                                                                                        L.
                 his duties; such prohibited actions include but are not limited to, concealing,
                 destroying, or altering records or information;




                                                                                                       a
              C. Dissipate or otherwise diminish the value of any Receivership Assets; such




                                                                                                       lv
                   prohibited actions include but are not limited to, releasing claims or disposing,
                   transferring, exchanging, assigning or in any way conveying any Receivership




                                                                                                 Ve
                   Assets, enforcing judgments, assessments or claims against any Receivership
                   Assets or any Receivership Defendant, attempting to modify, cancel, terminate,
                   call, extinguish, revoke or accelerate (the due date), of any ]ease, loan,




                                                                                             k
                   mortgage, indebtedness, security agreement or other agreement executed by




                                                                                        er
                   any Receivership Defendant or which otherwise affects any Receivership
                   Assets; or,




                                                                                   Cl
              D. Transact any of the business of the Receivership Parties or transferring any
                 Receivership Assets to anyone other than the Receiver;


                                                                             ct
              E. Destroy, secret, deface, transfer, cir otherwise alter or dispose of any documents
                 of or pertaining to the Receivership Parties and to the extent any such
                                                                        tri
                 documents are no longer in existence, fail to disclose the nature and contents of
                 such documents and how, when, and by whom such documents were caused to
                                                                   is

                 no longer be in existence;
                                                             .D


              F. Fail to notify the Receiver of any Receivership Assets, including accounts
                 constituting Receivership Assets held in any name other than the name of a
                 Receivership Defendant, or by any person other than the Receivership Parties,
                                                      Co




                 or fail to provide any assistance or information requested by the Receiver in
                 connection with obtaining possession, custody, or control of such Receivership
                 Assets;
                                                is




              G. Refuse to cooperate with the Receiver or the Receiver's duly authorized agents
                                          av




                 in the exercise of their powers, duties, or authority under any order of this
                 Arbitration Tribunal;
                                     Tr




              H. Interfere with or harass the Receiver, or interfere in any manner· with the
                 exclusive jurisdiction of this Arbitration Tribunal over the Receivership Estate;
                 or
                                 y
                            op




              I.   Take any action to file bankruptcy proceedings under Title II of the U.S. Code.
                   The right to file a bankruptcy proceeding or any other litigation involving the
                   Receivership Parties is expressly and solely delegated to the Receiver.
                     lc




      32.     Either +1he Receiver or Respondent the Mittie Foundation. or both, areis
                   ia




authorized, but not required, to seek confirmation of this Order in the District Court of Travis
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      of




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 County, Texas.      Nothwithstanding confirmation of this Order by any other tribunal, this




                                                                                                              L.
 Arbitration Tribunal shall retain exclusive jurisdiction to enforce the terms of this Order.




                                                                                                          a
        33.     The Receivership Parties shall cooperate with and assist the Receiver in the




                                                                                                          lv
 performance of his duties.




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                                VIII.         Managing Assets

        34.     The Receiver shall establish one or more custodial accounts at a federally insured




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                                                                                            er
 bank to receive and hold all cash equivalent Receivership Assets (the "Receivership Funds").




                                                                                       Cl
        35.     The Receiver's deposit account shall be entitled "Receiver's Account, Estate of

 [Name of Receivership Defendant]" together with the name of the action, or a title to that effect.

        36.
                                                                                ct
                Without further Order of this Arbitration Tribunal, the Receiver may not liquidate
                                                                           tri
 or otherwise dispose of Receivership Assets, including real estate, other than in the ordinary
                                                                      is

 course of business if the fair market value is less than $25,000.
                                                               .D


        37.    The Receiver is authorized to use the Receivership Assets and proceeds thereof to
                                                        Co




 pay debts and expenses of Receivership Parties that (i) have accrued prior to or during the

 receivership and (ii) in the sole discretion of the Receiver are essential or necessary to the
                                                  is




 operations of the Receivership Parties.
                                            av




       38.     The Receiver's duties shall include, using reasonable efforts, identifying,
                                        Tr




 marshaling, taking custody of, and preserving the value of the Receivership Assets and identifying

appropriate dispositions of the same.
                                  y
                               op




       39.     Upon further Order, pursuant to such procedures as may be required by this

Arbitration Tribunal and additional authority such as 28 U.S.C. §§ 2001 and 2004, the Receiver
                      lc




will be authorized to sell, and transfer clear title to, all real property in the Receivership Estate.
                  ia




       40.     The Receiver is authorized to take all actions he deems necessary in his sole
              fic




judgment to manage or maintain business operations of the Receivership Estate, including making

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 payments to creditors, employees, and agents of the Receivership Estate and communicating with




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 vendors, investors, governmental and regulatory authorities, and others, as appropriate.




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                                    IX.          Bankruptcy Filing




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        41.      The Receiver is granted the sole and exclusive right to file voluntary petitions for




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 relief under Title II of the United States Code (the "Bankruptcy Code") for the Receivership

 Parties, or ?:UY oftlielll,__ I_f a, Rc!c1eiyer~liip J:'1!Ity is pl?.ced in bankruptcy proceedings, the Receiver -------




                                                                                                          k
                                                                                                                            Commented [SMA13]: This is not enforceable. You cannot
                                                                                                                          , deny another party who has the right to seek protection of the




                                                                                                    er
                                                                                                                          I bankruptcy court the ability to file for protection.
 may become, and may be empowered to operate each of the Receivership Estate as, a debtor in




                                                                                              Cl
possession. In such a situation, the Receiver shall have all of the powers and duties as provided

a debtor in possession under the Bankruptcy Code to the exclusion of any other person or entity.

        42.
                                                                                       ct
                 The provisions of this Section IX bar any person or entity, other than the Receiver,
                                                                                 tri
from placing any of the Receivership Parties in bankruptcy proceedings!, l                                            -     Commented [GM14]: Include even though we don't think it's
                                                                             is
                                                                                                                            enforceable?

                                    X.          Liability of Receiver                                                       Commented [HK15]: (RCC)Sure
                                                                     .D


        43.      Until further Order, the Receiver shall not be required to post bond or give an
                                                             Co




undertaking of any type in connection with his fiduciary obligations in this matter.

        44.      The Receiver may choose, engage and employ attorneys, accountants, appraisers,
                                                       is




and any other independent contractors and technical specialists, including, but not limited to,---s
                                                av




real estate agents, forensic experts, property managers, and auctioneers (collectively, "Retained
                                          Tr




Personnel") as the Receiver deems advisable or necessary in the performance of the Receiver's

duties and responsibilities under the authority granted by this Order. The Receiver and his
                                      y
                              op




Retained Personnel, acting within scope of such agency, are entitled to rely on all outstanding

rules oflaw and Orders of this Arbitration Tribunal and shall not be liable to anyone for their own
                        lc




good-faith compliance with any order, rule, law, judgment, or decree. In no event shall the
                   ia




Receiver or Retained Personnel be liable to anyone for their good-faith compliance with their
              fic




duties and responsibilities as Receiver or Retained Personnel, including compliance with

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                                                                                               [Is this
"'Preservation/Liquidation dtu-ing the pendency of this litigation (the "~r2cer. atio11 Plan")
                                                                                  0




                                                                                                                             L.
                                                                                                             _••. --·( Commented [HK16]: (RCC) J"m not sure. The plan is going to
applicable in this matter?].                                                                                         l be to sell the property as soon as reasonably practicable.




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       53.     Within 60 days of the entry date of this Order the Receiver shall file the




                                                                                                                 lv
                                                                                            of
Preservation/Liquidation Plan in the above-captioned action, with service copies to counsel




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record, to allow this Arbitration Tribunal to evaluate the best course of action for the preservatio




                                                                                                 k
and liquidation of assets.




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       54.     Within thirty (30) days after the end of each calendar quarter, the Receiver shall




                                                                                      Cl
                                                                                        Status
file and serve a full report and accounting of each Receivership Estate (the "Quarterly
                                                                                       by the
Report"), reflecting (to the best of the Receiver's knowledge as of the period covered

                                                                                ct
report) the existence, value, and location of all Receivership Assets, and of the extent ofliabilitie
                                                                                                        s,
                                                                           tri
                                                                                             s of
both those claimed to exist by others and those the Receiver believes to be legal obligation
                                                                      is

the Receivership Estate.
                                                               .D


       55.     The Quarterly Status Report shall contain the following:
                                                        Co




               A. A summary of the operations of the Receiver;

               B. The amount of cash on hand, the amount and nature of accrued administrative
                  expenses, and the amount of unencumbered funds in the estate;
                                                  is




                C. A schedule of all the Receiver's receipts and disbursements (attached as Exhibit
                                            av




                   A to the Quarterly Status Report), with one column for the quarterly period
                   covered and a second column for the entire duration of the receivership;
                                       Tr




                D. A description of all known Receivership Assets, including approximate or
                   actual valuations , anticipated or proposed dispositions, and reasons for
                                  y




                   retaining assets where no disposition is intended;
                               op




                E. A list of all known creditors with their addresses and the amounts of their
                   claims;
                      lc




                LThe Receiver's recommendations for a continuation or discontinuation of the
                  receivership and the reasons for the recommendations.
                 ia




                                                                                                             ◄ -------------1 Formatted: Left, Indent: Left: 0.5", No bullets or
                                                                                                                      ~n_u_m_b_er_,n=g_ _ _ _ _ _ _ _ _ _ _ _ __
                ~G. Expenses incurred by the Receiver. including his own fees and all
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                  professional fees. during that quarter.
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                         XIII.         Fees, Expenses and Accountings

          56.    The Receiver need not obtain approval prior to the disbursement of Receivership




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                                                                                                                lv
 Funds for expenses in the ordinary course of the administration and operation of the receivership.




                                                                                                         Ve
 Further, prior approval is not required for payments of applicable federal, state, or local taxes.

          57.    The Receiver is authorized to solicit and retain persons and entities ("Retained




                                                                                                    k
 Personnel") to assist him in carrying out the duties and responsibilities described in this Order.




                                                                                               er
 The Receiver is specifically authorized to retain Streusand, Landon, Ozburn & Lemmon, LLP to




                                                                                         Cl
 serve as his counsel.



                                                                                   ct
          58.   The Receiver and Retained Personnel are entitled to reasonable compensation and
                                                                             tri
 expense reimbursement on a monthly basis from the Receivership Estate without prior approval,
                                                                         is
 but with full quarterly disclosure to the parties to the Arbitration.
                                                                  .D


          59.   Receiver shall be entitled to an initial minimum guaranteed fee of$40,000.00 (the

 "Guaranteed Fee"). Further compensation will be commission-based, as follows:
                                                          Co




                (a) Receiver shall be due 1.5% of all amounts paid to debt holders; and

                (b) Receiver shall be due 3.0% of all amounts paid to equity holders.
                                                    is




Such compensation will be due and payable upon the closing of any sale or refinancing, and if no
                                              av




sale, refinancing or other transaction occurs, Receiver shall be due compensation based upon the
                                        Tr




appraised fair-market value of all property retained by equity holders at the conclusion of the
                                    y




matter.
                             op




          60.   Mitte has agreed to advance fil2_JQ__a total amount of $150,000.00 to cover the
                         lc




Guaranteed Fee to the Recevier and the cost of Receiver's counsel. Mitte will also pay for, in

addition to the $150,000.00 sum referenced above, (c1)_c111_llpcl_at~cl :,pprc1i?8:LfQr each of th~~llbjt~Q ______
                  ia




                                                                                                                     Commented [HK17]: (RCC) This needs robe as mcurred, not
                                                                                                                     the entire S 150K up front.
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 real properties as directed by the Receiver, and (b) the premium costs _f():r!he !J()nd_or_clc:red lly this_ . ----·i      Commented [HK18]: (RCC) I don't have authonzation for this.




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 Arbitration Tribunal, if any.




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        61.     In return for advancing such funds to preserve, protect, investigate, value and




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 otherwise administer assets of the Receivership Parties, for the benefit of all stakeholders, Mitte




                                                                                                           Ve
 shall have an administrative priority claim in the Receivership Estate for repayment of such

 amounts after payment to the Receiver and Retained Personnel, and before distributions to any




                                                                                                       k
                                                                                                 er
 equity holders.




                                                                                            Cl
        62.     At the close of the Receivership, the Receiver shall submit a Final Accounting, as

well as the Receiver's final application for compensation and expense reimbursement.

        63.
                                                                                     ct
                All such fees and expenses of the Receiver, including all amounts due to the
                                                                               tri
Receiver or Retained Personnel, shall be accorded priority to the maximum extent provided by
                                                                          is

applicable law.
                                                                   .D


       64.      Further, this Order shall constitute a subordinate lien upon the Receivership Assets
                                                           Co




including, but not limited to, any real property owned by the Receivership Parties to secure the

compensation of Receiver in accordance with this Order. Receiver is authorized to provide notice
                                                     is




of and perfect such lien as required by applicable law. !_                                                          ___ .-, Commented [HK19]: (RCC) If we're going to do this, we need
                                                                                                               .-       l   to include Mitte~s advances.YES we do.
                                               av
                                         Tr




       IT IS SO ORDERED, this_ day of _ _ _ _ _ _ _~ 2019.
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Mark Ralston

From:                                     Mark Ralston
Sent:                                     Monday, August 10, 2020 8:53 AM
To:                                       'Stephen Lemmon'
Cc:                                       Rhonda Mates; Gregory S. Milligan; Kelli Rangel
Subject:                                  RE: WC 1st and Trinity, WC 3rd and Congress [IWOV-Legal.FID105226]


Stephen,

Yes, the Debtors oppose having the Receiver’s Motion to Dismiss heard on an expedited basis. As an initial matter, you
have not even stated good cause to do. See L. Rule 9014(e). And, frankly, I am unaware of any facts in this matter that
would constitute such cause. Additionally, given the several misstatements and misleading allegations asserted and
seriousness of the scope of relief sought by the Receiver, the notice period required under the Local Rules will be
necessary to allow the Debtor to appropriately respond, including presenting evidence or witnesses as may be
necessary.

Further, the Debtors believe that the Local Rules require the Receiver to also confer with other significant parties in
interest as a prerequisite to seeking an expedited hearing on his motion—at minimum, the secured lenders to each of
the limited partnerships.

I am open to working with you regarding scheduling a hearing date falling after the conclusion of the notice period
provided under the Local Rules. Please provide your availability for the same. Please also be aware that I will be on a
long-planned family vacation to Arizona from and including Friday, August 14 to August 22.

All the best,

Mark H. Ralston | Attorney
FISHMAN | JACKSON | RONQUILLO PLLC
13155 Noel Road, Suite 700 | Dallas, Texas 75240
Direct Dial: 972.419.5544 | Fax: 972.419.5501
Email: mralston@fjrpllc.com

  -      FISHMAN JACKSON RONQ ILLO

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From: Stephen Lemmon <Lemmon@slollp.com>
Sent: Friday, August 7, 2020 7:24 PM
To: Mark Ralston <mralston@fjrpllc.com>
Cc: Rhonda Mates <Mates@slollp.com>; Gregory S. Milligan <gmilligan@harneypartners.com>; Kelli Rangel
<Rangel@slollp.com>
Subject: WC 1st and Trinity, WC 3rd and Congress

Mark:
                                                                          1
                                                          EXHIBIT D
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On behalf of the Receiver, we are filing motions to dismiss all four of the bankruptcies, or, alternatively, to have the
Receiver administer the bankruptcies of the limited partnerships.

We are also filing a motion for expedited consideration, asking the Court to hold a hearing on or before August 17.

Are you opposed to the Motion to Expedite? Are there any dates next week we should tell the court you are
unavailable?

Thanks.

Stephen Lemmon

STREUSAND | LANDON | OZBURN | LEMMON LLP
Spyglass Point | 1801 South MoPac Expressway | Suite 320 | Austin, Texas 78746
(d) (512) 220-2688 | (o) (512) 236-9900 | (f) (512) 236-9904
lemmon@slollp.com | www.slollp.com

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